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EXHIBIT W

 

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1 AMERICAN ARB:TRATION ASSOCIATION

2 --------------------------------------- ><

3 AMERICAN INTERNATIONAL SPECIALTY

4 LINES INSURANCE COMPANY,

5 Claimant-
`6 Counter Respondent,
7 ~ against -

8 THE UPPER DECK COMPANY, RICHARD P.

9 MCWILLIAM, and the MPR REVOCABLE TRUST,

10 / Respondents-
11 Counter Claimants.
12 --------------------------------------- X
13 780 Third Avenue
New York, New York

14

, October 10, 2006
15 10:05 a.m.

16 B E F O R E:

17 JOHN F. BYRNE, Chairman

18 STEPHEN D. KRAMER, Arbitrat©r

19 CHARLES J. MOXLEY, JR., Arbitrator

20

21 MELISSA GILMORE, Reporter

22

23 ELLEN GRAUER COURT REPORTING CO. LLC
126 East 56th Street, Fifth Floor

24 New York, New York 10022

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Benjamin - Cross
remember, that‘s fine. This isn't a
memory test. Thank God, it‘s never a
memory test. lf you are not sure, say soo
|f you have got a question, ask it. Okay?
THE W|TNESS: Um-hum.
CHA|RMAN BYRNE: Cell phone turned
off?
THE W|TNESS: Didn't bring it with
me.
CHA|RMAN BYRNE: You are back in my
will. Swearthe witness, Ms. Gilmore.
PETER K. LATHROP, called asa
witness, having been duly sworn by a Notary
Public, was examined and testiied as
follows:
CHA|RMAN BYRNE: May we have your
full name for the record, please?
THE WlTNESS: Peter K. Lathrop,
L-A-T~H-R~O-P.
CHAlRMAN BYRNE: | need from you a
business and home address
THE W|TNESS: Business address, 70
Pine Street, Eighth F|oor, New York, New
York 10270. Home address, 1255 Meadowlark

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Benjamin - Cross
Lane, Scotch P|ains, New Jersey 07076.
MR. KUSHNER: Let me just hand

Nlr. Lathrop the policy.
DlRECT EXAM|NAT|ON
BY MR. KUSHNER:

Q. Mr. Lathrop, by whom are you
employed?

A. AIG.

Q. And how long have you been employed
by A|G?

A. A|most ten years.

Q. You are an attorney?

A. Yes, l am.

Q. Where are you admitted?

A. ln the state of New York.

Q. And what position did you hold at
AlG in May of 2001?

A. Vice president and director of
taxes

Q. What were your responsibilities as
vice president and director of taxes?

A. l managed the tax department, which
l had basically three roles at that time.

Q. And what were they?

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Lathrop - Direct

A. To prepare and file AlG‘s state and
federal income tax returns, and there were like
3,000 state returns, for example. We handled
audits of those returns performed by the lRS
and state income tax authorities, and we
responded to tax questions raised by the profit
centers, tax issues involved in acquisitions of
companies acquisition of assets, disposition,
any kind of income tax plan.

Q. When were you admitted to practice?

A. 1969.

Q. And are you a member of any
professional organizations?

A. |‘m a member of the American Bar
Association and the New York State Bar
Association.

Q. Any sections or committees in those
organizations?

A. l'm a member of the tax section of
both associations.

Q. Can you give a brief summary of your
legal experience before you came to AlG?

A. l was with the small tax finn of

Everett, Johnson & Breckenridge in lower

157
Lathrop - Direct
Manhattan. They were located at 20 Exchange
Place from 1967 through 1994l August of '94.

Q. Were you a partner or an associate
at that tirm?

A. l was an associate at the beginning,
and l became a partner, l believe July --
January 1, 1973.

Q. And between yourtime at thatfirm,
and the time that you started atAlG, were you
employed?

A. Yes, lwas.

Q. Where?

A. l left Everett, Johnson &

Breckenridge to join Alexander & A|exander
Services, as its vice president and director of
taxes

Q. What years were those’?

A. Nineteen -- August '94 to
November `96.

Q. Sir, are you going to be retiring
from AlG?

A. l am.

Q. And effective when?

A. July1,2007.

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upper deck-aig arb

Lathrop - Direct
Q. Did you have anything to do with the

policy at issue in this proceeding before it

was bound?
A. Yes, l did.
Q. And what?

A. l reviewed the tax consequences

Q. And l put the policy before you. Do
you remember which parts of the policy --

A. Primarily, the KPMG opinions

Q. Any other parts?

A. l'm sure we read the policy itse|f.

CHAlRMAN BYRNE: You just used that
lawyers "we" again. lt's a bad habit we`
all have, but if -~ did you review it
yourself or others on your staff?

THE W|TNESS: l meant to include
Stanton Young, senior tax counsel at AlG.
lt was not the royal "we."

Q. But the "we" does include you?

A. lt does include me.

Q. Did you reach any conclusions based
on your review?

A. Yes.

Q. And what were they?

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Lathrop - Direct

MR. WAHLQU|ST: Ob]ection, Your
'Honor, if he is going to give --
`Honors/arbitrators -- if he is going to
give legal opinions or conclusions with
respect to the policy, we have a big
problem because all of the privilege
materials have been withheld, and it is
our view if he is going to give those
opinions, they have to certainly disclose
the opinions of all the tax lawyers they
consulted on this, or not just this one.
They don't get to pick and choose

MR. KUSHNER: l'm sorry, ldidn't
mean to interrupt

CHA|RMAN BYRNE: lt is very well
taken, and it's a good caution, and you
did it at the right time. l assume he
reached conclusions lt was the next
question that could or couldn't get us
into trouble, so l appreciate it. Where
are we going here?

MR. KUSHNER: l'm not asking for his
communications or advice to others l'm

asking for his own conclusions

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Lathrop - Direct

CHA|RMAN BYRNE: We|| --

MR. WAHLQU|ST: Nor was he
designated as an expert witness.

MR. KUSHNER: No, he is a fact
witness, very much so.

CHA|RMAN BYRNE: One second You
know what? You are big boys and girls.
Let's go slow. Let me hear the question.
Thank you for the position Let‘s see how
far we go on it.

BY MR. KUSHNER:

Q. l will ask a follow-up question, and
that is, did you reach any conclusion as to
whether the transaction worked from a tax
standpoint?

A. Yes.

MR. WAHLQUlST: Objection, that‘s --

CHA|RMAN BYRNE: Was that conclusion
based upon your own review of the policy,
the four corners of the policy, and the
opinion?

THE W|TNESS: Yes.

CHAlRMAN BYRNE: Did it involve in

any way anyone giving you underlying

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Lathrop - Direct
materials, legal or otherwise?

THE W|TNESS: No, l performed my own
research.

CHA|RMAN BYRNE: What research did
you perform?

THE W|TNESS: Studied the internal
Revenue Code, the regulations, the
rulings.

CHA|RMAN BYRNE: How did you convey
your conclusion?

THE W|TNESS: l'm sorry. May l hear
»- rehear the question?

CHA|RMAN BYRNE: How did you
convey -- what was the manner in which you
conveyed your conclusion?

THE W|TNESS: My recollection is it
was done by e-mail and telephone
conversation

CHAlRMAN BYRNE: To whom?

THE W|TNESS: lt would be
conversations to Stan Young, a lawyer in
the tax department, and l recollect with
Brian Benjamin, and possibly some of his

subordinates
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upper deck-aig arb

Lathrop ~ Direct

CHA|RMAN BYRNE: Any e-mailsto
them?

THE W|TNESS: l expect there were.

CHA|RMAN BYRNE: They have been
produced?

MR. KUSHNER: l believe that they
were in our privilege log. So the answer
is they have not been produced

CHA|RMAN BYRNE: Are his e~mails
here per my prior ordei’?

MR. KUSHNER: l'm sorry. The prior
order pertained to Rob Jones.

CHA|RMAN BYRNE: Sorry. Are the
e-maiis here?

MR. STRO|Li: lthink they are here.

CHA|RMAN BYRNE: 0kay. Here is the
deal. i will let him testify as to what
he told someone provided that if he told
them that in writing, or conveyed
something in writing to them, alsol the
writing be produced That's the deal.
Can you live with the deal?

MR. WAHLQU|ST: When, can l asi<?

CHA|RMAN BYRNE: One thing at a

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Lathrop - Direct
ti me.

MR. WAH LQU lST: l get the sense l'm

going to have to live with the deai, but l

do want the deal to be fair, okay? if
they are going to have this witness
testify and talk about what he told them
legally, and then i need to see ali of it,
not just part of it.

CHA|RMAN BYRNE: l understand and if
you have to call somebody, you call
somebody, but l want them here. if you
don't have them here presently, lwant
them here first thing tomorrow morning

MR. STRO|Li: Let me Hnd out if we
have them.

CHA|RMAN BYRNE: And we are
finishing this witness -- we will not
finish this witness, and he will be
subject to recall at such time as those
documents are produced. Okay, Go take a
iook.

MR. STRO|Li: Sure.

CHAlRMAN BYRNE: Off the record.

(Discussion off the record.)

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Lathrop ~ Direct

CHA|RMAN BYRNE: Here is the full
deal. Since Mr. Wahlquist accused me of
jamming the deal down his throat, l'm
going to sweeten the deal l'm going to jam
down his throat We are going to finish
the direct of Mr. Lathrop between now and
4;30.

Those, l am told, are ali the
e-maiis in question i am going to give
you overnight to review them, and
Mrt Lathrop will be here tomorrow morning
at 10:00. You can do whatever cross of
him you wish to, but tomorrow morning at
10:00l that will be the first thing we do.

Aii righi?

MR. WAHLQU|ST: i can live with
that.

CHA|RMAN BYRNE: Understood.

MR. KUSHNER: Sure.

CHAlRMAN BYRNE: And don't think
that just because you have got more time
to prepare your cross, that you have to
fill it all in.

MR. WAHLQU|ST: lt gets shorter.

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Lathrop - Direct
CHA|RMAN BYRNE: Thank you very

much.

BY MR. KUSHNER:

Q. Mr. Lathrop, before the recess, l

asked you if you had reached any conclusion as
to whether the transaction worked from a tax

standpoint Had you reached a conclusion?

A. Yes, l had.
Q. And this was prior to the policy

being bound?

A. That's correct
Q. And what was your conclusion?

A. That the transaction, if carried out

as outlined by KPiViG, worked`from a tax

standpoint

Q. What were the reasons for your

conclusion?

A. The key to this is that you have to

have a valid charitable contribution. The
shareholder, the donee, has to have the
beneicial ownershipl meaning that it has a
risk of upside and downside in the stock. And
the way the transaction was structured, the

Austin Firefighters had that.

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upper deck~aig arb

Lathrop - Direct

They weren't guaranteed a price of
redemption They had, you know, their
obligations of first refusal under the
shareholders agreement, but they also had the
put option, which their stock would be
evaluated by an independent appraiser, and they
would get fair market value whatever it was at
that time.

And there is a weil established line
of authority that indicates like that. it's a
good charitable contribution. The other
consequences of this transaction, which
benented Mr. McWiiiiam and Upper Deck, were
independent of the charitable contribution

For many years, organizations like
the Austin Firetighters, have not been subject
to the Unrelated Business Tax under 511. And
for many years, the only eligible shareholders
of Subchapter S corporations were individuals
and a limited number at that.

lthink when l started practicing
iaw, which dates me, it was ten. Congress has
been expanding it over the years. in 1996,

Congress said we will increase the number of

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Lathrop - Direct

eligible shareholders to 75, and by the way,
tax exempt organizations can be shareholders

And in that act, they also
contemplated that people would be making gifts
of shareholder stock to charitable
organizations in Subchapter S stock and they
changed 170E to say that in the case of gifts
of Subchapter S stock to charitable
organizations the amount of the deductible
donation had to be reduced by what are known as
751 items, receivables and sharply appreciated
inventory, the sort of things that, if sold,
would produce ordinary income.

That is the same ruleer
partnerships The Code and the Regs have very
specific rules on allocating the income of
Subchapter S corporations You look only to
the issued stock. There are very specific
rules on second class of stock. Warrants are
not treated as a second class of stock unless
they are substantially certain to be exercised
and they were not exercised here, and nor -- l
don't think they were in any of these other

deals that KPMG did.

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Oct 10 arb hearing 10/10/2006 10:05:00 Al\/i

Lathrop ~ Direct
MR. WAHLQU|ST: i move to strike the
latter testimony as not responsive to the
question. We are going way beyond the
underwriting process in order to
complicate it.
CHA|RMAN BYRNE: it's not quite.

The motion to strike is overruled, but

give us some credit. Okay?

A. Weii, let‘s see. The warrants were
not a second class of stock because the
regulations were very specific. They won't be
treated as a second class of stock unless two
tests are met, one of which the warrants have
to be substantially likely to be exercised So
they -- that wouldn't be a second class of
stock.

Second class of stock would be
fatai, but the Code itself says, if you have
voting and nonvoting stock and they are, you
know, identical as to liquidation and
distribution rights, they should be treated as
a single class of stock. That's in the Code
itseif.

So the only risk here, as l saw it,

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Lathrop - Direct
was if the shares were not redeemed at market
value, and unfortunateiy, that‘s what happened
CHAlRMAN BYRNE: Did you tell
anybody »~ did you communicate to anyone
what you viewed as the risk here?
THE W|TNESS: Nol because the --
CHA|RMAN BYRNE: No?
THE WlTNESS; No.
CHA|RMAN BYRNE: You are here to
tell us what you did in this transaction,

not to offer an opinion with respect to

any other transactions or similar

transactions That's why l stopped you,

okay?
THE W|TNESS: Okay.
BY MR. KUSHNER:

Q. Did you know at the time, that is,
before the policy was bound, whether KPMG had
done any other SC2 transactions?

A. Yes, l did

Q. And do you recall which ones you
knew about?

A. There were at least three prior to

this one, Award Homes/Santa Clara, Seeno,
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upper deck-aig arb

Lathrop - Direct

S-E-E-N-O, and l think Ciement Pappas was
the --the third one, or it could have been one
of the other ones, idon't know. But there
were three prior to Upper Deck.

Q. And were these transactions ones
which had been presented to AiG for insurance?

A. Yes.

Q. And what was the outcome?

A. Two of them were insured. Seeno was
not.

Q. Why wasn't Seeno insured?

A. Because the shareholder agreement »-

MR. WAHLQU|ST: Your Honor, l

object. this is the second time i have

gone down this road. We went down it the

first time, and we didn't say anything

But we speci&caliy asked for underwriting

files for the other SC square transactions

in discovery in this case. There were

specific objections made to those, which

were sustained by the panel, and now, we

are up to our neck in this.

CHA|RMAN BYRNE: Weii, you are not

quite up to your neck, but you are getting

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Lathrop » Direct
your feet wet, and |‘m not being
facetious. There is a difference between
asking for information and a difference --
and asking for the whole damn underwriting
tile and whether it's relevant or not.
Tomorrow.

MR. WAHLQU|ST: Tomorrow, l get the
undenNriting nie?

CHA|RMAN BYRNE: No, tomorrow -- you
may never get the underwriting fiie, but
tomorrow, l invite you to address to the
panel what it is about the other
transactions that you do or don't want to
know about, information about the
transactions

Get away from the discovery tile
thing, and we will figure out what's
there, and see if we need any of it, And
there should be -- and give us, address to
us a reason for why you think you want
this particular information lt seems to
me off the top of my head that some of the
information may be relevantl the

information may be relevant

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Lathro/p - Direct

l'm still not convinced the
underwriting file is relevant, and there
is really - there is a difference, as
opposed to a mere distinction And let's
see how you are going to get that
information or not. lt may be from a
witness, but if the question is i don't
know if this witness is telling the truth
about the transaction, there is another
way of dealing with that, aside from
saying i want the underwriting fiie.

Tmst me for a couple of minutes, all
right, or for half a day.

MR. WAHLQUIST: l have to.

CHA|RMAN B¥RNE: it's not the worst
thing in the world you can do,

Mr. Wahlquist, it's really not.

MR. WAHLQUIST: We have to trust in
all three of you at this point.

CHA|RMAN BYRNE: Thank you very
much. Ai| right. There were three
transactions that you looked at while you
were atAlG -- four, including Upper Deck.

THE WlTNESS: Up to that point

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Lathrop - Direct
There was another one after that as we|l.

CHAlRMAN BYRNE: Up to that point.
Okay, up to that point. Two of them, you
insured With respect to the two you
insured, were they structured similarly to
the Upper Deck structure?

THE W|TNESS: Yes,

CHAlRMAN BYRNE: Sharehoiders
agreement -- were they both KPMG?

THE W|TNESS: Yes, ali three were
KPMG.

CHAlRMAN BYRNE: A|l right. With
respect to the one that was not insured --
that was not ultimately insured, what,
from a tax point of view, did you see was
problematic?

THE W|TNESS: The shareholders
agreement had a redemption provision
which included one of its options, not
only fair market value, but a fixed dollar
price.

CHA|RMAN BYRNE: lt gave a fixed
price as a ceiling?

THE W|TNESS: Yes. Weii, as one of
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upper deck-aig arb

Lathrop - Direct
the alternatives you get. Now, you
weren't going to get less than the fair
market value of the stock on the date of
gift, and that's not a deal that ali the
shareholders are going to get. So the
danger is that that special provision
creates a second class of stock.

CHAlRMAN BYRNE: Ali right.

THE W|TNESS: Which is obviously
fatal to Subchapter S.

CHAlRMAN BYRNE: Weii, it would seem
to be fatai. is that the only difference?

THE WiTNESS: it's the only one l
recaii, yes, sir.

CHAlRMAN BYRNE: Was it in a
shareholders agreement?

THE WlTNESS: lt was iri the
shareholders agreement,

CHAlRMAN BYRNE: As best you can
recall, the shareholder agreement called
for whatl with respect to redemption or
repurchase of shares?

THE W|TNESS: lilly recollection is

that under the shareholders agreement, the

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Lathrop - Direct

charity was promised either X dollars,
which was the value at the date of gift,
-or fair market value, whichever was
greater, so it established a fioor.

CHA|RMAN BYRNE: Okay. Thank you.
Under ali circumstances or under a
particular --

THE W|TNESS: My recollection is ali

circumstances

BY MR. KUSHNER:
Q. Of the other two transactions l
think you mentioned Award Homes and Ciement
Pappas, did one of those transactions undergo
some alteration as to its structure?
CHA|RMAN BYRNE: l'm sorry. Waita
second l'm sorry, Counsel. Before or
after it was insured?
MR. KUSHNER: Before it was insured
A, My recollection is that it did.
Q. And which, if you remember, was that
transaction?
A. i don't remember which one it was.

Q. it was either one of those two or?

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Get 10 arb hearing 10/10/2006 10;05:00 AM

Lathrop - Direct

A. My recollection is that it was.

Q. What was the change?

A. lt was the same problem in the
shareholders agreement, We insisted that it be
changed so that the redeeming shareholder got
fair market value in all circumstances

CHA|RMAN BYRNE: And the shareholder
agreement was --

THE WITNESS: Corrected before the
transaction, before the gift was made.

CHA|RMAN BYRNE: Okay. Did you make
the same demand of the one that was
ultimately not insured?

THE WlTNESS: No. At that point,

the gift had already been made. iVly

recollection is the gift had already been

made, and they said, "Weii, we will change
the agreement now," and we just felt that
was unsatisfactory.
CHA|RMAN B¥RNE: Okay.
BY MR. KUSHNER:

Q. Do you remember information you

received iri May of 2001, that KPMG had done

about 20 other SC2 transactions?

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Lathrop - Direct

A. Yes, l do.

Q. And what was your opinion as to
whether that soured the tax aspects of the
Upper Deck proposed transaction?

A. My view was that it didn't affect
the technical merits, but that the explosion of
these transactions, just the very multiplicity
of them, if the service became aware of them,
you got people trying to take them down just
because they were mass marketed, and that‘s
pretty much what happened

Q. Were you ever informed that KPMG was
mass marketing these transactions?

A. No, lwas not, not until the
hearings

Q. What hearings are we talking about?

A. The Senate Subcommittee on
investigations

MR. KUSHNER: May i have just a
moment, please?
CHA|RMAN BYRNE: Sure.
(Discussion off the record.)
BY MR. KUSHNER:

Q. l‘d just like one or two other
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upper deck-aig arb

Lathrop - Direct
questions Mr. Lathrop. Did the right of the
charity in the Upper Deck transaction to have
its stock redeemed at fair market value, as
determined by an independent outside appraiser,
play any part in your conclusion that the
transaction worked from a tax standpoint?

A. Yes.

Q. And what part did it piay?

A. it was critical.

Q. Why was it critical'?

A. You wanted to make sure that the
charity was treated as an owner, and if you
take them out for just a small amount of money,
you get the problem that you are accused of
parking the stock, not really transferring it
to the charity as an owner And in that case
then, no gift ever occurred and ownership never
passed to the charity.

The second risk is that if you don't
pay fair market value, you have this nonvoting
stock that‘s getting one price, and the common
--the voting common is obviously entitled to
everything else, and that creates a danger of

the second class of stock classification So

Lathrop ~ Direct
there is two problems

CHAlRMAN BYRNE: Okay. l'm
confused

NlR. KUSHNER: When you said --

CHA|RMAN BYRNE: l'm sorry, Counsel.

You mentioned an appraisal was
critical. There are, however, other ways
of arriving at fair market value, in an
arm's-length transaction and a right of
first refusai.

THE W|TNESS: Weii, with the right
of first refusal you get a third party who'
is performing the valuation When it's
between the controlling shareholder and a
minority shareholder, there are different
considerations that apply --

CHA|RMAN BYRNE: Ali right. ljust
want --

THE W|TNESS: that's the difference
in my view.

CHA|RMAN BYRNE: i didn’t want
critical to become only -- l didn't want
critical to translate into only. Thank

you.

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Lathrop - Direct

MR. KUSHNER: l have completed by
direct

CHA|RMAN BYRNE: Uniike lawyers -~
unlike advocates l don’t have to worry
about not knowing the answer to my
questions beforehand

Did you have any ~- but | think it's
important to know whether or not you had
any role whatsoever in the claims process
i.e., did you have any role whatsoever in
determining whether the alleged tax loss
was insured and would be paid?

THE W|TNESS: l was copied on some
of the e-mails, but i didn't take any role
in the process

CHA|RMAN BYRNE: |‘m going to push
it. Were you a participant in any of the
meetings concerning the same?

THE W|TNESS: i might have been a
participant in one or two.

CHA|RMAN BYRNE: Asked or offer your
opinion, take a vote? Were you asked for
a vote?

THE W|TNESS: l don't recall that l

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Lathrop - Direct

was.

CHAlRMAN BYRNE: Do you recall
voicing an opinion?

THE W|TNESS: No, idon't.

CHA|RMAN BYRNE: Did you commit any
of your opinions with respect to the
payment process claim process in writing?

THE WITNESS: l really doubt that i
did. Again, the reason l say that if l
can continue, is that by then, l had
really phased out of any oversight over
the tax insurance policies

CHA|RMAN BYRNE: Okay. Unless l'm
wrong, Counsell you would rather take a
look at what you have got and first thing
in the morning --

MR. WAHLQU|ST: i would

CHA|RMAN BYRNE: We will be
cognizant of Mr. Lathrop's time, and we
could have finished him today and yadda,
yadda, yadda, we will go very quickly with
you tomorrow Thank you very much.

MR. KUSHNER: May ljust ask one

question?

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upper deck-aig arb

Lathrop - Direct
CHA|RMAN BYRNE: Surer
BY MR. KUSHNER:
Q. Do you know who Bill Cotter is?
A. Yes.
Q_ Did you meet with Mr. Cotter?
A. Yes, l'm sure i did
Q. Do you remember whether Mr. Cotter
was representing AiSLiC when you met with him’?
A. |‘m sure he was
Q. And did you discuss the entire Upper
Deck situation with him?
A. We may well have,
MR. KUSHNER: Okay, thank you.
A. i mean ljust don't know, l
remember l met Bill Cotter.
MR. KUSHNER: Okay. i thank you.
CHAlRMAN BYRNE: Mr. Lathrop, you
are excused for the day. i want counsel
and the parties to remain for a few
moments after the witness leaves Thank
you very much for your time,
(Witness leaves the room at this
time.)

CHA|RMAN BYRNE: i’m going to put

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STATE OF NEW YORK )
ZSS

COUNTY OF RICHMOND )

I, MELISSA GILMORE, a Notary Public
within and for the State cf New York, do hereby
certify that the within is a true and accurate
transcript cf the proceedings taken On
Octcber 10, 2006.

1 further certify that 1 am not
related to any Of the parties to this action by
blood cr marriage; and that I am in no way
interested in the cutcome of this matter.

IN WITNESS WHEREOF, 1 have hereunto
set my hand this 11th day cf Octcber, 2006.

‘ MELISSA GILMORE

 

 

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2 AMERICAN ARBITRATION ASSOCIATION
3 --------------------------------------- X
4 AMERICAN 1NTERNAT1ONAL SPECIALTY
5 L1NES 1NSURANCE COMPANY,
6 C1aimant~
7 Counter Respondent,
8 ~ against -
9 THE UPPER DECK COMPANY, RICHARD P.
10 MCWILL1AM, and the MPR REVOCABLE TRUST,
11 Respondents-
12 Counter Claimants.
13 --------------------------------------- X
14 780 Third Avenue
New YOrk, New York
15
October 11, 2006
16 / 10:02 a.m.
17 B E F O R E:
18 JOHN F. BYRNE, Chairman
19 STEPHEN D. KRAMER, Arbitrator
20 CHARLES J. MOXLEY, JR., Arbitrator
21
22 MELISSA GILMORE, Repcrter
23 - ELLEN GRAUER COURT REPORTING CO. LLC
126 EAST 56TH STREET, FIFTH FLOOR
24 New York, New York 10022
(212) 750-6434
25 REF: 82078

 

 

 

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Proceedings
Mr. Lathrop, Good morning, sir.
THE W|TNESS: Good morning
CHA|RMAN BYRNE: You are still under
oath. You are not under oath with respect
to any opinions you may have given to
anyone because they are just that, they
are opinions You are under oath with
respect to facts and circumstances
involving you directlyl ali right,
understood'?
THE WlTNESS: Yes.
CHA|RMAN BYRNE: Okay. God forbid,
l ever put a lawyer under oath with
respect to their opinions including
myself. So with that in mind, let's go.
EXAM|NAT|ON
BY lVlR. WAHLQU|ST:
Q. Good morning, Mr. Lathrop,
A. Moming.
Q. Have you ever used the expression
"tempiate deai" to describe the SC squared
transaction?

A. Have i, personally?

Q. Yes, sir.
200
Lathrop

A. l don't remember. it's certainly
possible

Q. Why don't you take a minute and look
at Exhibit 388, which is what l handed you
before we went on the record, and tell me if
you can identify that document for us?

A. l can

Q. What is it, sir?

A. it's a chain of e-mai|s, the top
most of which is an e-mail from me to Steve
Goidman, with copies to Brian Benjamin and Stan
Young.

Q. And does that refresh your
recollection as to whether or not you have ever
described SC squared as a tempiate deal?

A. Yes, it does

Q. What does that expression mean to
you?

A. A transaction that has the same
characteristics.

Q. Ail the SC squared transactions look
pretty much the same, is that what you meant?

A. Yes.

Q. Okay. And you were questioned

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Oct 11 arb hearing 10/11/2006 10:02:00 AiVl

Lathrop
yesterday about something at the bottom of
Exhibit 388. l think it's an e-mail dated
May 16, 2001 from Kate Rego to Mr. Goldman,
advising that KPMG had done 20 S Corp.
transactions to date. Do you remember that
testimony?

A. Yes.

Q. And lwant to make sure l understand
your testimony from yesterday, Under direct by
Mr. Kushner, you had a concern that the
multiplicity of those transactions would
potentially cause the |RS to take SC squared
down, correct?

A. Certainly challenge it, ibelieve,
and l continued to express confidence on the
merits of the transaction lt was just the
multiplicity of deals and the possible adverse
publicity would create a problem. Yes, you
could wind up with an adverse decision, but not
because the deal did not have technical merit.

Q. Did you ever say that in writing?

A. l don't recall saying that
explicitly in writing

Q. Did you ever say anything in writing

202

Lathrop

about the technical merits of the SC squared
transaction, other than what's in Exhibit 388
in front of you today?

A. idon't recail. imay have on the
prior two deals

Q. There is a reference on Exhibit 388.
lt says "File tax" something You see the
handwritten writing on it?

A. Yes.
is that your writing?
No, it's not.
Whose writing is that?

Stan Young‘s.

.0.>.0.>.0

Can you read that, that language?

A. l believe it says "File tax
liability insure," which is short, l guess for
tax liability insurance file

Q. Did AlG review that file for any
written advice that you gave in connection with
the SC squared deal?

A. i have no idea.

Q Do you keep a separate Hle?

A. No, l do not.

Q Did the tax department keep a file

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Lathrop
pertaining to the SC squared transaction?

A. This refers to a tax department
tiie.

Q. Okay. So this isn't a --

Mr. Young‘s fiie, is it?

A. No, it's not.

Q. lt‘s a tax departmentfiie. And
there was a tax department file pertaining to
the SC squared transaction, correct?

A. l believe there were a number of
files

Q. And that's what l'm trying to
understand is there one file for each of the
policies or is there a file that pertains to
this whole line of business on SC squared?

A. l believe there are files just on
each transaction

Q. Okay. Did l understand you
correctly yesterday to say that you believed
the iRS tried to take SC squared down because
it was mass marketed?

A. Yes.

Q. And did l understand you correctly

yesterday to testify that you were never

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Lathrop
informed that KPMG was mass marketing SC
squared?

A. That's correct

Q. Did you ever inform anybody of that?
The contrary, you said nobody every told you
that, Did you tell anybody that SC squared was
being mass marketed by KPMG?

A. ifl didn't know it, how could |
tell somebody eise?

Q_ Weii, did you tell your clients that
you had concerns with the 20 transactions that
had already been undewvritten?

A. This is the extent of my comment l
commented to the people who were writing`this
insurance.

Q. And did you tell them you had
concerns with the number of S Corp.
transactions that were already underwritten?

A. Not other than expressed here.

Q. So you told them that on
Exhibit 388?

A. Yes.

CHA|RMAN BYRNE: How did you know --

and if it's privileged information l

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Oct 11 arb hearing 10/11/2006 10:02:00 Ai\/l

Lathrop

clearly don't want you to answer -- but

how did you learn in May 2001 that the iRS

had 20 opportunities to audit the KPMG

structure?

THE WlTNESS: Because of the bottom
e-mail in this chain Kate Rego, the
broker, is advising our people. l don't
know where she got that information from.

CHA|RMAN BYRNE: Thank you. But you
got it from -- Rego is from Marsh?

THE WlTNESS: Marsh.

CHA|RMAN BYRNE: Thank you.

BY MR. WAHLQU|ST:

Q. And when you got that information
you told your client that KPMG would continue
to market this strategy, correct?

A. That was my expectation yes

Q. And you expressed concerns that if
AiG continued to underwrite insurance for the
transaction, that would particularly encourage
KPMG to continue writing it; is that correct?‘

A. That’s what it says

CHA|RMAN BYRNE: Was that then a

business decision going forward, as

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Lathrop
opposed to a legal decision going fonNard?
THE W|TNESS: This wasn't legal. l
wasn't saying it here that there was
anything wrong with the structure or the
legal merits it was just that, you know,
too many of these deals could be
problematic, regardless of merits
CHA|RMAN BYRNE: Yeah, you put a
question markl "is this something that M
and A wants to insure going forward." My
question is geared at, you are pointing
this out to the business people if they
didn't know it aiready. And as far as you
were concerned, it was then a business
decision based on information that
everyone should have; is that fair?
THE W|TNESS: iwould say that's
fair.
CHA|RMAN BYRNE: Thank you.
BY MR. WAHLQU|ST:
Q. And you did have a question about
the wisdom of that business decision; is that
correct, sir?

A. in light of this knowledge? Yes, i
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Lathrop d
had questions as to whether you should keep
writing these transactions. Not that they, in
and of themselves, were risky. But they became
risky because of the possible impact of having
many, many deals and the Service regarding, as
it ultimately did, as a mass marketed, shabby
kind oftransaction.

Q. And in your view, is that why the
Service took the position that it did with SC
squared?

A. Yes.

Q. Now, yesterday, we saw that ~ this
is May17,2001. When is the Erst time you
ever heard of Upper Deck? Your e-mai| is
rvray 17th.

A. lt was earlier that month, l
believe.

Q. We heard testimony from your
colleague that A|G got an inquiry from Kate
Rego on May 14 or 15 of 2001. Did you hear
anything about Upper Deck before that date?

A. No.

Q. So when you heard about it, was

there anything you said in writing about this

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Lathrop
transaction before this e-mail which does raise
a question about whether or not you should be
in this business?

A. No.

Q. Do you recall a May 29, 2001
conference call involving you, Stanton Young,
Steve Farno, the then CFO of Upper Deck, and
Ms. Rego regarding valuation issues of Upper
Deck stock?

A. l'm sorry. l have no recollection
of that call.

Q. Do you recall having -- had direct
access to Tom Kuccia on a phone call at some
time, Mr. Kuccia being an employee of FMV
Valuations, the firm that did the valuation of
the Upper Deck stock?

A. The name doesn‘t even ring a be|l.

l'm sorry.

Q. Did you have direct access to KPMG
at any time with respect to the SC squared
transaction?

A. l don't recall any direct access

Q. Did you -- maybe l can refresh your

recollection Do you remember a June 7

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Lathrop
conference call involving you, Nlr. Benjamin
Mr. Farno, and Andrew Atkin from KPMG?
A. l don't recall it.
Q. Did you have contact with any
outside accounting firms or law firms at all
regarding SC squared trans --the SC squared
transaction in this summer 2001 time period?
CHA|RMAN BYRNE: Did he personally?
MR. WAHLQUlST: Yes.
A. To the best of my recollection
none.
Q. Are you aware cf any by KPMG --
excuse me, by AlG?
A. No, l'm not.
ARBlTRATOR MOXLEY: By KPMG or by
AlG’?
MR. WAHLQUlST: l meant by AlG.
Q. lf l didn't say by A|G »~ did you
understand my question?
A. l did.
Q. Yeahl okay. Yesterday, Mr. Kushner
asked you if the right of the charitth have
its stock redeemed at its fair market value as

determined by an independent outside appraiser

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Lathrop
played a critical part, you characterized it,
in your analysis of the tax merits Do you
recall that testimony?

A. Yes, l do.

Q. What did you do to make sure that
that critical aspect of the transaction was
reflected in the deal documents'?

A. l would say probably review of the
shareholders agreement and the policy.

Q. Did you review the shareholders
agreement?

A. Yes, l did.

Q. And let me pull the shareholders
agreement up then That is Exhibit C to the
policy.

CHA|RMAN BYRNE: We||, you can give
the witness a copy of the policy if he
wants it,

MR. HOWELL: Exhibit 104.

CHAlRMAN BYRNE: We are a|l on
Exhibit C to the policy.

BY MR. WAHLQU|ST:
Q. Let me know when you have found

that, Mr. Lathrop.
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Lathrop

A. l have it.

Q. Would you turn to Section 5.2 of the
shareholders agreement? And Section 5.2 speaks
to a sales prioe. Just verify this for me, if
you wi||, when you look at it, and l'm going to
read it because it's two lines

CHA|RMAN BYRNE: Don't worry about
it. |f he is focused right on it, don't

worry about reading it.

Q. lt refers to a valuation determined
by FMV Opinions or another appraiser selected
by Upper Deck. Do you see that?

A. Um-hum.

Q. ls that what you meant yesterday
when you talked about an independent outside
appraiser?

MR. KUSHNER: l'm sure Mr. Wahlquist

did not mean to omit the sentence prior to

the one he paraphrased

CHA|RMAN BYRNE: He didn't, He was
probably listening to the chair saying

"Please don't read it. Just focus the

witness’ attention to the section and let

him read it.`I

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Lathrop

Q. ls that the section you had in mind
when you talked about an independent appraisal
by an outside appraisal service yesterday?

A. Yes.

Q. Any other provision of the agreement
that you were referring to when you spoke about
that?

A. Well, there are other provisions in
the agreement, l mean there are certain
triggering events, which would cause the stock
to be required to be submitted for redemption
and again it was fair market value.

Q. We|l, let's talk about that in
there.

A. ls it Section 3?

Q. Section 3 does talk about what are
referred to as "disposition events," correct?

A. Yes.

Q. And it does talk about an appraisa|,
correct?

A. 3.5.

Q. Section 2 talks about a first right
of refusa|; is that right?

A. Rigm.

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Oct 11 arb hearing 10/11/2006 10:02:00 Al\/l

Lathrop

Q. lt does not talk about an appraisa|,
right?

A. No, it does not. lt does talk about
a bona Hde offer from a third party.

CHA|RMAN BYRNE: The answer to the
question therefore, is no.
THE W|TNESS: No.
CHA|RMAN BYRNE: lt does not.
BY MR. WAHLQUlST:

Q. And Section 1 talks about a sale of
the stock with the consent -- written consent
of Upper Deck, right?

A. l think that‘s a standard provision
That's what it says

Q. And it doesn't say anything about
fair market value, does it?

A. Section 1 does not.

Q. Did that concern you?

A. l viewed that as a standard
provision

CHAlRMAN BYRNE: So the answer is
no?

THE W|TNESS: No.

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Lathrop

BY MR. WAHLQU|ST

Q. Nor does Section 1 say anything
about obtaining AlG‘s consent to a sale of the
stock or an amendment of the shareholders
agreement?

A. No, it does not.

Q. Did you advise your client --

cHAiF`<MAN BYRNE: careful.

Q. -~ that steps --

MR. KUSHNER: Objection

Q. -- had to be taken to put that
critical requirement in your mind of fair
market value into Section 1 of the shareholders
agreement?

CHA|RMAN BYRNE: Sustained. Did you
advise your client? That's one of the
reasons why it was sustained We are
getting --the second reason is we are
getting into argument Part of your basic

position -- one of your positions is
that -- is the legitimacy of the share
purchase agreement to the extent that it
would not havel did not, use a verb,

impact the validity of the SC squared

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Lathrop
transaction as counter to you didn't do
the exact template deal, and therefore, we
are not paying. ls that -- it's a
simplification

MR. WAHLQU|ST: l'm not sure l
totally understand what you are saying as
my point. But what l'm trying to inquire
about is Mr. Lathrop has told us that the
fair market value requirement, as
perceived by him, was critical to his view
that this transaction worked.

CHA|RMAN BYRNE: Right.

MR. WAHLQU|ST: And Section 1 of the
agreement clearly contemplates a sale with
the written consent of Upper Deck.

CHA|RMAN BYRNE: Got it.

MR. WAHLQU|ST: l'm trying to find
out what, if anything, he did to make sure
this critical aspect of the deal was
required in that context

CHAlRMAN BYRNE: Did you do anything
to express your -- did you do anything to
express concern your concern over the

provisions of Section 1 of the

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Lathrop

shareholders agreement?

THE W|TNESS: No.

MR. KUSHNER: lt assumes a fact he
hasn't testihed to. Okay.

CHA|RMAN BYRNE: You are correct
Having said this is all he did, l kind of
ngured lwas going to get a no, as long
as l stayed away from things like advice
So the answerto your question is, he did
nothing with respect to linking critical
concem over fair market value and the
provisions of Section 1; fair?

THE W|TNESS: Yep.

BY MR. WAHLQU|ST:

Q. Did you do anything to link this
critical concern that you had over fair market
value with the terms of the representation
letter appended to the policy as Exhibit B?

CHA|RMAN BYRNE: Take a look at the
letter. Tell me first if you reviewed it,
and then answer counsel's question

Off the record.

(Discussion off the reoord.)

A. l'm sure l reviewed it, but l don't

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Oct 11 arb hearing 10/11/2006 10:02:00 Al\/l

Lathrop

know when l saw it.

Q. Did you see it before the
transaction was underwritten by AlG?

A. l don't know. l don't recalli

Q. So in answer to my question then,
you certainly don't recall doing anything to
link the critical aspect ofthe deal, in your
mind fair market value, with the
representations given in Exhibit B to the
policy?

A. That's correct

Q. Now, this concern that you had over
fair market value, was that driven by a
regulation published by the internal Revenue
Service?

A. ln part.

Q. And what else was it driven by?

A. The case law dealing with charitable
contributions

Q. Anything else?

A. That`s basically it, rulings, the
78, 197.

Q. That pertaining to the charitable

contribution aspect?

218

Lathrop

A. Yes.

Q. You did review the KPMG opinions,
themselves appended to the policy as Exhibit
A, right?

A. That's correct

Q. Okay. l would like you to turn to
the May 2 KPMG opinion appended as Exhibit 1
that is captioned "Re: Charitable contribution
to the Austin Firethters Relief and
Retirement Fund."

CHA|RMAN BYRNE: A|625.

Q. And turn to page -- l'm sorry, l

have got the wrong -- turn to page 6.
Do you find a discussion of
Regulation Section 1.1361~1L2(iii)'?

A. Yes.

Q. ls that the regulation that
concerned you -- caused you to be concerned
about fair market value?

A. Yes.

Q. And can you identify for us what
part of that regulation caused you to be
concerned with fair market value?

A. lt's just the general importance of
219

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Lathrop

treating all shareholders the same. So that's
the problem, for example, with warrants lf
they are underpriced and they are actually
issued, they have different price. So that
therefore, you wind up with a second class of
stock.

Q. Well, and the warrants are the
subject of a different regulation?

A. Yes, they are. Yes -~ well, it's
a -- further down than this one.

Q. But this is the part of that
regulation that addresses fair market value,
right?

A, That's correct

Q. And in particular, Subpart2
addresses fair market value, correct?

A. Fair market value, yes.

Q. ls that the portion of the
regulation that caused you to be concerned with
fair market value?

A. Yes.

Q. Do you understand that regulation to
prohibit a non fair market value price that has

not been decided on at the time of entering

220

Lathrop
into the shareholders agreement?

A. ln all cases?

»Q. Correct.

A. lthink in this context, ldo.

Q. Can you explain that?

A. This transaction offered tremendous
advantages to the corporation and its
shareholder. lt didn't invalidate the
charitable gift or anything like that, but to
make sure you didn't get a second class of
stock you want to, you know, dot all your ls
and cross all your Ts, in my opinion

Q. Well -- and lwant to see if l'm
reading the KPMG opinions the same way you are.
KPMG addresses two ways that you can run afoul
of the second class of stock requirement One
is by issuing the warrants and the other is in
a buy/sell agreement between the shareholders;
is that right?

A. Yes.

Q. The regulation on the page we are
talking about, page 6, speaks to the buy/sell
agreements right?

A. Yes, it does.

221

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Q. And in particular with respect to
fair market value, that regulation speaks to
the establishment of a purchase price at the
time the agreement is entered into that is
in - significantly in excess of or below the
fair market value of the stock; isn't that
right?

A. Yes.

Q. ln your view, does the shareholders
agreement do that?

A. Would you please rephrase that
question?

CHA|RMAN BYRNE: Does the
shareholders agreement, itself, in your
opinion run afoul of that provision?

THE W|TNESS: ln my opinion it does
not.

BY MR. WAHLQU|ST:
Q. Thank you.
Are you aware of the existence of
any agreement as of the summer or spring of
2001 between the shareholders of Upper Deck
that did run afoul of that provision?

A. l don't recall anything like that

222

Lathrop

Q. Are you aware of something called
the Economic Substance Doctrine?

A. l am.

0. l knew the answer to that, butdo
you see an analysis of the Economic Substance
Doctrine in the KPMG opinions?

A. No.

Q. Did you research the economic
substances -- excuse me,

Did you research the Economic
Substance Doctrine's application to the SC
squared transaction at any time before the
Upper Deck policy was bound?

A. lt's a very dichult question to
answer.
CHA|RMAN BYRNE: Did you -- Counsel,
l think one of the reasons it's difficult
is did he ever research the Economic
Substance Doctrine? And the answer is
probably yes, because he knows what it is.

MR. WAHLQU|ST: Well, let me

rephrase.

CHA|RMAN BYRNE: ln connection with

an SC squared?
223

Page 220 - 223

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Lathrop
MR.WAHLQUlST: Correct. Before
this policy was bound
CHA|RMAN BYRNE: Did you research it
in connection with an SC squared
transaction prior to the issuance of the
Upper Deck policy?
THE WlTNESS: The problem is that
economic substance means different things
in different contexts Did t look at
economic substance in the terms of the
transaction that went afoul for ll/lerrill
Lynch and Colgate, where you have to have
a business purpose, and usually, a pretax
proHt and some profit other than tax
motive? No, ldid not.
BY lVlR. WAHLQU|ST:

Q. Well, yesterday, you told us you did
research with respect to this transaction?

A. Yes.

Q. And it was your own independent
research?

A. That's correct.

Q. And my question is, did you research

the applicability of the Economic Substance

224

Lathrop

Doctrine to the SC squared transaction at al|?

vA. As l believe ldescribed yesterday,
what l looked at was whether this was a good
charitable contribution and whether the
charity would be regarded as the owner of the
stock. And from that, if the charity was the
owner of the stock, the other consequences
flowed

lt's not like these amorphous
transactions like blips or some of these
others, where you need a business purpose and
you need a pretax profit, and you have to have
some reason for going into the transaction
other than taxes.

At the end of the day, your economic
position hasn't really changed Here, with a
charitable contribution your economic position
is going to change.

Q. Whose perspective did you analyze
from, the charity's or the donating
shareholders?

A. The charity's

Q. Doesn't all the case law analyze it

from the perspective of the taxpayer?

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Oct 11 arb hearing 10/11/2006 10102:00 AlVl

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A. No. On business transactions yes,
but this is a different transaction l don't
view this as in the noneconomic loss category
at all. This is a totally different
transaction in my view.

Q. l'm sorry. What do you mean
"noneconomio loss"?

A. Noneconomic loss, where one party
contributes an asset to a company, and it gets
back preferred stock. And you put some cash in
and then you assume a debt, and it's all
prearranged, precooked. And all of a sudden
there is foreign currency of $10 million and
you claim you have got a basis of110, you sell
it and claim a $100 million loss, and you have
no economic loss at all.

Q. Did you participate in the decision
to deny coverage for this claim?

A. Rob asked me yesterday about being
in meetings and l probably was, but l don't
have any recollection of it.

Q. Did you make a recommendation?

A. l'm sure l expressed --if l said

anything, lwould have expressed confidence in

226

Lathrop
the merits of the position if, you know,
carried out as planned.

Q. Of the, what we will call, generic
SC squared transaction?

A. Generic SC squared.

Q. Do you know who made the decision to
deny this claim?

A. No, ldo not.

Q. Do you have an expectation based on
your familiarity with AlG, who made that
decision?

A. l had -- you know, if l had any
contact with claims, it would have been the b
only contact l had with claims ¥ou know, it
just wasn’t an area of the company that l had
involvement

Q. Did you have contact with Mr. Robert
Burke regarding this claim?

A. That's a familiar name, but l can't
recall the substance of our conversations

MR. WAHLQU|ST: Give me just a
minute.
(Discussion off the record.)

Q. lwant to come back to Exhibit 388,

227

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Lathrop
which is the May 17 e-mail to Mr. Goldman, with
copies to Mr. Benjamin and Stanton Young that
we began with this morning. Do you have that
in front of you?
A. Yes, l do.
Q. ls that the closest thing you have
in writing to expressing confidence in the SC
squared transaction?
A. l don't recall if l wrote anything
on the two prior ones.
Q. So certainly, not with respect to
this transaction?
A. No, you have all the e-mail lwrote.
There weren't many.
MR. WAHLQU|ST: l have no further
questions at this time.
CHA|RMAN BYRNE: Thank you.
MR. KUSHNER: Just a couple of
questions
EXAM|NATlON
BY MR. KUSHNER:
Q. Mr. Wahlquist asked you about the
KPMG opinion on charitable contributions

Please take a look at, in particular, pages 3,

228

Lathrop
6 and 7 of that opinion and tell me whether
that gave you comfort with regard to the
element of fair market value based on an
appraisal?

MR. WAHLQU|ST: l'm sorry. l hate
to be obtuse. l want to make sure |‘m on
the right letter.

MR. KUSHNER: Oh, weli, you asked
about -- didn’t --

MR. WAHLQU|ST: The charitable
contribution letter.

MR. KUSHNER: Okay. 3, 6 and 7.
l'm trying my best not to quote.

ARB|TRATOR MOXLEY: And what page is
that in the letter because l'm looking at
the version that doesn't have the Bates
stamps

MR. KUSHNER: So am l. Pages 3, 6
and 7.

ARBlTRATOR MOXLEY: Oh, 3, 6 --
okay. 3, 6 and 7.

A. Page 3 states as a fact that the
redemption amount is the fair market value, and

that's echoed in the third full paragraph on

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page 6 and also in the paragraph 2 on page 7l
fair market value,

MR. KUSHNER: l have no further

questions

CHA|RMAN BYRNE: Thank you.
EXAM|NATION
BY MR. WAHLQU|ST:

Q. Where, in the KPMG opinion letters,
does it say there cannot be a redemption
outside of Section 5 and Section 3?

CHA|RMAN BYRNE: lt says what it
says Argument.

Mr. Mox|ey?

(Discussion off the record.)

ARB|TRATOR MOXLEY: Mr. Lathrop, you
have testified if l have understood you
correctly, to the importance -- to the

view you had at the time in reviewing this

transaction, that the element of fair

market value was central to this deal

passing muster under the tax law. ls that

basically --
THE W|TNESS: Yes.
ARB|TRATOR MOXLEY: And then you

230

Lathrop
have been asked questions about other
sections of the shareholders agreement,
including Section 1. Do you recall those
questions?

THE W|TNESS: Yes.

ARB|TRATOR MOXLEY: And do you
recall Upper Deck's counsel asking you
under Section 1, about the language that
refers to, other than certain sections,
there shouldn't be a sale unless you have
Upper Deck's consent?

THE W|TNESS: Yes.

ARB|TRATOR MOXLEY: Do you recall
that area of testimony?

THE W|TNESS: l recall those
questions yes

ARBlTRATOR MOXLEY: Did you have --
did you make an evaluation at the time
when you were looking at this transaction,
as to whether fair market value, or how
fair market value would come in if you had
an event that was under Section 1 and not
under Section 5 or Section 3?

THE W|TNESS: l think, you know, all

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Page 228 - 231

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Lathrop

of our expectations were that all cf the
transfers would occur under 2, 3 or 5, and
that one just restricted the Austin
Firefighters from, say, giving it to Tops
Basebali Cards or something.

ARB|TRATOR MOXLEY: Can you explain
what your basis was for that at the
time -- for that sense of it at the time?

THE W|TNESS: 1 just seemed like a
generic prohibition on transfers outside
of the other provisions ln other words,
Section 2 was a bona fide offer from some
third party, and Upper Deck was a bona
fide offer. Upper Deck got the chance to
match it to keep it out of unfriendly
hands, and 3 and 5 dealt with redemptions
between Upper Deck and the Firehghters
Fund. And in that situation a third
party, the appraiser would be brought in
to validate the price.

ARB|TRATOR MOXLEY: That was your
sense of it at the time?

THE W|TNESS: That was our sense of

it-- my sense -- it's my sense, my

232

Lathrop
personal sense,
Cl-lAlRl\/lAN BYRNE: Okay.
MR. WAHLQU|ST: May l have one
follow-up to that?
CHA|RMAN BYRNE: Go ahead
BY MR. WAHLQU|ST:

Q. What, then in your mind, would
happen if the Firethters didn't exercise the
put? Would it be prohibited for there to be a
redemption after that point in time to do a
voluntary transaction?

A. l have no idea what happened because
l think, had the thing run its course, the
Firefighters would have submitted their stock
for redemption

CHA|RMAN BYRNE: So you don't know
what would have happened period

THE WlTNESS: |do not.

CHA|RMAN BYRNE: Thank you.

Mr. Lathrop, thank you very much for your

time, and for coming back today. Let‘s

take ten minutes l would like counsel to
chat to see where we are in terms of your

request, Mr. Wahlquist

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1 - McWilliam
3 C E R T 1 F I C A T E

5 STATE OF NEW YORK )
` :SS
6 COUNTY OF RICHMOND )

8 _ I, MELISSA GILMORE, a Notary Public
9 within and for the State of New York, do hereby
10 certify that the within is a true and accurate

11 transcript of the proceedings taken on

 

12 October 11, 2006.
13 1 further certify that 1 am not

14 related to any of the parties to this action by

15 blood or marriage; and that I am in no way
16 interested in the outcome of this matter.
17 IN WITNESS WHEREOF, 1 have hereuntO

18 Set my hand this 12th day of October, 2006.

:: MRan wit/mw '

>MELISSA GILMORE
21

 

 

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EXHIBIT X

 

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2 AMERICAN ARBITRAT:@N Assoc:AT:oN
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5 LINES INSURANCE COMPANY,

6 C1aimant-
7 Counter Respondent,
8 ~ against -

9 THE UPPER DECK COMPANY, RICHARD P.

10 MCWILLIAM, and the MPR REVOCABLE TRUST,

11 Respondents-
12 Counter Claimants.
13 --------------------------------------- X
14 780 Third Avenue
New York, New York
15 _
October 12, 2006
16 11:00 a.m.

17 B E F O R E:

18 JOHN F. BYRNE, Chairman

19 y STEPHEN D. KRAMER, Arbitrat©r

20 CHARLES J. MOXLEY, JR., Arbitrator

21

22 MELISSA GILMORE, Reporter

23 ELLEN GRAUER COURT REPORTING CO. LLC
126 EAST 56TH STREET, FIFTH FLOOR

24 NEW YORK, NEW YORK 10022

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Kendall
AFTERNOON SESS|ON

(Time noted: 2:06 p.m.)

CHAlRMAN BYRNE: Good afternoon.
Thank you very much for being back
promptly. Mr. Wahlquist, do you want us
to wait for your client or --

MR. WAHLQU|ST: No, lappreciate
that, but he asked that we proceed.

CHAlRMAN BYRNE: |‘m sorry?

MR. HOWELL: He asked that we
proceed in his absence

CHAlRMAN BYRNE: We have with us
this afternoon, Linda Beerbower Burke, who
will be testifying as an expert. Let me
repeat for the witness' benefit, but not
necessarily for counsels' benth because
they have heard it before Your report
and your CV are in evidence

ln an arbitration proceeding, you
are not a FRE expert, a Federal Ru|es of
Evidence expert, as you would be called
under those circumstances We listen to
your opinion. lt may or may not be

persuasive We appreciate yourjoining us

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Kendall
today.

l note that you are a member of the
Bar, and my practice --the panel's
practice is that we do not swear in
colleagues We assume that you will give
us the information as being asked of you
to the best of your ability, and we
appreciate your time.

THE WlTNESS: |shall.

CHA|RMAN BYRNE: However expert and
professor that you are, you may assume
that we have read your reports and most of
the material, that we are pretty well up
to speed. Don't feel, because you are not
in a position where you have to defend
something you said or necessarily overly
explain something you have said just
because you have said it.

So while some think it rude,
particularly the counsel that l might cut
off, listen to see if there is an
objection Listen to see if there are
suggestions being interposed by the panel,

We are an impatient lot. Sometimes,

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Oct 12 arb hearing 10/12/2006 11:00:00 AlVl

1 Kendall

2 arbitration members wait until the end to

3 ask questions That not necessarily what

4 we do. So some of our questions are

5 designed to get to it. With all of that

6 in mind, and there is really not much in

7 mind, let me have, for the record, your

8 full name, please And l need a --

9 because you are a third party witness, l

10 need your residence and business address
11 THE W|TNESS: My residence is 5023
12 Frew Street, F-R-E-W, Pittsburgh,

13 Pennsylvania 15213.

14 CHAlRMAN BYRNE: Business address?
15 THE W|TNESS: That is also my

16 business address

17 CHA|RMAN BYRNE: Excellent, and it’s
18 Burke, B-U~R-K-E?

19 THE WITNESS: That is correct

20 CHA|RMAN BYRNE: Mr. Kushner, please
21 proceed.

22 MR. KUSHNER: Thank you.

23 L|NDA BEERBOWER BURKE,
24 called as a witness, was examined and

25 testified as follows:

456

1 Burke

2 EXAMlNATlON

3 BY MR. KUSHNER:

4 Q. Ms. Burke, where are you admitted to
5 practice?

6 A. l am admitted to the Bar of the

7 Commonwealth of Pennsylvania and to three

8 federal courts, the Western District of

9 Pennsylvania, the US Tax Court, and the US
10 Claims Court.

11 Q. Can you give us a brief summary of

12 your education and legal experience?

13 A. My undergraduate degree was from the
14 College of William and Mary in 1970_ My law
15 school, my J.D. was from the University of

16 Pittsburgh School of Law in 1973. At 1973, l
17 began working for Alcoa, and l worked for A|coa
18 until February 2000, and l worked for the

19 internal Revenue Service from 2000 to 2003.
20 Q. At Alcoa, what was the highest
21 position you held?
22 A. l was the chief tax officer
23 Q Your years at the lRS were what?
24 A_ You mean in time?
25 Q Until July 2003, did you say?

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Burke

A. July 2003 to -- July 2000 to
July 2003.

Q. Three years?

A. Three years

Q. Okay. Thank you.

Are you a member of any professional
organizations?

A. l am.

Q. Of which?

A. l am a member of the American Bar
Association, Tax Executives lnstitute, the
Pittsburgh Tax Club.

Q. And what position or positions did
you hold at the lRS?

A. lwas the operating division counsel
for the large and mid size business division of
the |RS.

Q. What were your responsibilities?

A. in that position, my
responsibilities were to lead between 300 and
400 attorneys in that division to support that
sector of the lRS in ferreting out and
developing issues on examination, on advising

appeals with regard to issues of the large and

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Burke
mid size business Litigating cases that
originated in that business sector in
developing guidance and procedures that
involved the taxpayers that -- for which that
business sector of the lRS was responsible1 and
working with Treasury to develop policy and
guidance affecting those taxpayers

Q. How many attorneys were in your
immediate ofice at the lRS?

A. ln my headquarters oft'lce, there
were 15 attorneys.

Q. Under your supervision?

A. Under my supervision

Q. lf | mutter, please tell me. l have
a habit of muttering.

Did you have any contact with 862
transactions?

A. l did not.

Q. And have you previously submitted
any expert reports in this proceeding -- to
this panel?

A. Yes, l have.

Q. Prior to this proceeding, did you

testify as an expert in any other proceeding?

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Oct 12 arb hearing 10/12/2006 11:00:00 AlVl

Burke

A. No.

Q. Did you give an expert report in any
other proceeding?

A. No.

Q. What material have you reviewed in
this matter?

A. l have reviewed the government
publications including Notice 2004-40l the
coordinated issue paper relative to this type
of transaction | have reviewed the insurance
policy and some of the exhibits thereto, l
have reviewed the shareholders agreement, the
warrant agreement l have reviewed -- that is
the original one.

l have reviewed the shareholders
agreement pertinent to the 2002 redemption l
have reviewed correspondence pertinent to both
the original -~ entering into the original
shareholders agreement and the correspondence
pertinent to entering into the 2000 --

December 2002 agreement

l have reviewed appraisals l have

reviewed other expert reports, other tax

reports l have reviewed lots of cases

460

Burke
associated with my research in this matter.

Q. Do you have any opinion concerning
whether the SCZ transaction, as structured in
this case, would have succeeded?

A. Yes.

O. And what is your opinion?

A. My belief is that the transaction
would have succeeded ~-

Q. What are the reasons --

A. -- would likely have succeeded on
litigation

Q. -- what are the reasons for your
opinion?

A. The reasons that l believe that this
particular transaction had a chance, a good
chance of succeeding, is that l think the facts
as were should have developed from the
transaction as structured were excellent
Economic substance, which is the crux of the
issue in this case, is basically a factual
analysis

And in this case, it would have been
very hard to argue that had the transaction

proceeded as structured, that there would not
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have been significant differences in the
economic relationships of the parties involved
in the transaction, and particularly, the
charity, which would have received a far larger
payment than it ultimately received.

Q. l may have cut you off. You said it
likely would have succeeded in litigation?

A. ln litigation

Q. Does that mean in court?

A. Yes.

Q. Who represents the lRS when it is
sued in the US District Court?

A. The Department of Justice attorneys
in the trial division

Q. And who represents the lRS when it
is sued in the Court of Claims?

A. The same, the justice department
attorneys in the civil trial division

Q. Who has settlement authority for the
lRS in those cases in US District Court and the
Court of Claims?

A. The Department of Justice.

Q. Now, do you have any opinion

concerning whetherthe transaction, as carried

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Burke
out by Upper Deck, would have succeeded?

A. Yes, l do.

Q. And what is that opinion?

A. l believe it could riot have
succeeded.

Q. What are the reasons for your
opinion?

A. One of the hallmarks of determining
economic substance was whether the
transaction --the payment for the shares in
the transaction occurred at fair market value.
And the transaction, as structured, assured
that there was a measure of fair market value
by providing for an appraisa|.

The transaction is actually -- as
actually carried out, had no fair market value
determination that had any sense of
objectivity. And for that reason, l believe
that that payment at what l believe was
considerably less than fair market value,
destroyed the bona fides of the transaction as
originally structured

CHA|RMAN BYRNE: The basis for your

belief that the $2 million was less than

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fair market value was based on what?

THE WlTNESS: lt was on the Empire
Appraisal that was done in 2006.

CHA|RMAN BYRNE: Okay. Would |,
slick litigator that l used to be, have an
opportunity to prove before a court of
competent jurisdiction that $2 million was
fair market value in connection with a
challenge that the 862 transaction as
consummated was problematic, or disallowed
or whatever’?

Would l have an opportunity to show
as the taxpayer, who is under challenge,
that 2 million was fair market value,

That the Empire report was meaningless
under the circumstances and that the
price actually paid was fair market value
at the time it was paid?

THE WlTNESS: And your question --

CHA|RMAN BYRNE: Would l have an
opportunity?

THE W|TNESS: ln litigation?

CHA|RMAN BYRNE:' Um-hum.

THE W|TNESS: l believe you would.

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Burke

CHA|RMAN BYRNE: If, then, that
opportunity existed and succeeded, i.e., a
court of competent jurisdiction determines
that 2 million was fair market value, do
you have an opinion as to whether or not
the tax strategy, as consummated, would
succeed?

THE W|TNESS: l don't have an
opinion but l'm trying to form one now.

CHA|RMAN BYRNE: it's okay.

THE W|TNESS: And my belief is that
if it could have been proven through
objective standards that the price paid
for the shares was fair market value, that
it is likely the transaction could have
stood on its own. Yes, it could have
succeeded

CHA|RMAN BYRNE: Al| right That's
all l'm -- l didn't mean to put you on the
spot. l am --

THE WlTNESS: You didn't.

CHA|RMAN BYRNE: -- what l was
trying to ascertain is, l did -- l guess

did l have to prove or show at the time of
465

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the transaction, contemporaneously with
the transaction that 2 million was
proper?

THE W|TNESS: That is generally a
requirement in determining fair market
value in a transaction is that it be
contemporaneous

CHA|RMAN BYRNE: So there had to be
something existing, in this instance, at
the time, the end of 2002, that would lead
one to believe, or that would form a
reasonable basis for one to believe the
2 million was fair market value?

THE W|TNESS: There had to be
something existing at that time, yes.

CHA|RMAN BYRNE: Okay. Did you have
an opportunity to look at any of the
letters from KPMG to the Austin
Firefighters Fund?

THE W|TNESS: I did -- l don't know
that l looked at all ofthem. ldid, at
least one. '

CHA|RMAN BYRNE: All right. Did you

look at the one where someone from KPMG

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Burke
was telling -- not opining, but telling
the Austin Firefighters Fund that, in
words or substance, 2 million was fair
market value ~- fair value?

THE WlTNESS: Yes, ldo.

CHAlRMAN BYRNE: lf-- l mean if you
don`t remember l ~-

THE WlTNESS: l believe l saw that
letter, yes.

CHAlRMAN BYRNE: Okay. We are
talking speculation so it's not a --
there are no hard and fast answers Would
a letter like that help in trying to
convince a court, a contemporaneous
2 million and then a slick litigator and
another expensive valuator saying "Yep,
2 million after the fact"?

THE W|TNESS: lt is my opinion that
the letter to which you refer would not
have helped.

CHA|RMAN BYRNE: Okay. Why?

THE W|TNESS: if you -- if we are
talking about the same letter, l believe

that it also said that fair market value

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is what Upper Deck is willing to pay.

CHA|RMAN BYRNE: Okay. The letter
says what it saysl but l -- all right

THE W|TNESS: And it was viewed --
in my experience at the internal Revenue
Service, that would not have been
considered adequate to prove a valuation
Normally, you need something that is done
by someone who is qualined to do it, and
there are certain methodologies that apply
to doing that type of evaluation and none
of that occurred in the letter that l
recall.

CHA|RMAN BYRNE: The key that you
are telling me, however, is that there had
to -- there should have been or had to be
a contemporaneous valuation of2 million
contemporaneous legitimate valuation of
2 million in December of '02, for there to
be a likelihood that the transaction would
succeed?

THE WlTNESS: l believe that is the
case.

CHAlRMAN BYRNE: Okay. Surely,

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Burke
please

THE WlTNESS: iwould like ’tO
qualify that the lRS can always challenge
valuations and does And what they
consider contemporaneous or sufficient
might diHerfrom a |itigator‘s opinion on
that,

CHAlRMAN BYRNE: And also what a
court of competent jurisdiction might find
sufficient

THE W|TNESS: Exactly.

CHAlRMAN BYRNE: All right. That's
what -- thank you for the -

MR. KUSHNER: lthought Mr. Moxley
had a follow-up.

ARB|TRATOR MOXLEY: Yeah, l have a
follow-up. Thank you.

MR. KUSHNER: This doesn't count
against my time by the way.

ARB|TRATOR MOXLEY: l have a
follow-up on the chair's question And
the chair was making a distinction and l
just want to make sure that you were

making the same distinction
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You indicated, in response to
Mr. Byrne, that there should be a
contemporaneous document at the time the
buy back or transaction takes place that
substantiates fair market value, right?

THE WlTNESS: That is correct

ARBl`l'RATOR MOXLEY: And you
indicated that something like the letter
wouldn`t be enough You'd need more of a
valuation correct?

THE W|TNESS: That is correct

ARBlTRATOR MOXLEY: Just to be
clear, suppose you didn't have that
formalized, but you ended up in a disputed
proceeding in Ta>< Court or the District
Court, and the taxpayer was prepared to
present evidence that it was

Would that potentially be suchient
in terms of a court decision in your view,
or wouldn't it matter whether it was or
not fair market value, if you didn't have
it memorialized, you know, at the time the
buy back or redemption was actually done?

THE WlTNESS: |f you are asking if

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Burke
there were no contemporaneous
documentation what would the court
consider?

ARBiTRATOR MOXLEY: Right. lf the
parties just said okay, shall we do a
redemption at such and such a number, and
it was done, and the Service challenges
it, and you end up in court, is the
absence of the development of paper of a
formal appraisal and so forth, is that
fatal or would the court be in a position
to evaluate and make a determination it
was or was not fair market value?

THE W|TNESS: lt was not fatal,
however, it would be a negative inference
on the side of the party that didn't have
the paper. Obviously, that's the whole
crux of, frankly, the issue, is this is a
factual matter, and what, in fact, was the
value. That's part of what would go into
the economic substance determination

ARB|TRATOR MOXLEY: When you talk
about substance -- well, maybe, l will

wait. l have a question about substance,

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but you are probably going to get
questions on it. So why don't l -- l mean
if you are going to get into that, l will
defer and ask later.

MR. KUSHNER: Anything that makes my
life easier, is welcomed.

CHAlRMAN BYRNE: Go into it already.
Go ahead.

ARB|TRATOR MOXLEY: Okay. Here is
my question Just from a non tax
practitioners point of view, $2 million is
real money.

THE W|TNESS: Um-hum.

ARB|TRATOR MOXLEY: l mean it's not
like it was denned as a peppercorn,

$11.4 million is a lot more money, but
$2 million is a real number, lwould
think.

So my question is, l mean is that
basically the case? But beyond that, is
the concept of economic substance --to
what extent does that depend on whether
you have real money versus a peppercorn

and to what extent do you evaluate

472

Burke
economic substance, not whether it's real
money and a change of position and it's
putting something in somebody else‘s
pocket, but rather, to what extent do you
evaluate that based on the relative amount
of the number involved, in this case, the
buy back number vis-a-vis the tax benefit?
l mean is it all relative vis-a-vis the
tax benth, or is it just, you knowl did
they really put something in the charity's
pocket?

THE W|TNESS: There is -- to answer
your question l'm going to have to say
yes to bothl l think, and that is that
yes, real money obviously does make a
difference However, the relativity to
the tax benefit is significant Those are
all factors that go into determining
economic substance

|n this particular case, obviously,
there are regulations that govern the
concept of whether this is a single or
more than one class of stock, and those

regulations also require that the fair

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market value be within a certain range of
what is determined to be fair market
value.

So it cannot be substantially above
or substantially below. So generally -- l
guess l should stop there.

ARB|TRATOR lVlOXLEY: Right. So
see -- but those are really separate
tests right? l mean economic substance
is one thing, and another is do you have
separate classes of stock or not?

THE W|TNESS: Actually, they are,
yes.

ARB|TRATOR MOXLEY: Okay. You could
have separate classes of stock, l mean
it -- without reference to economic
substance if they are just different in --

THE WlTNESS: That's a fair
question lt‘s just that my feeling, my
belief is that in this case, because that
is one of the consequences that could
occur from failure to have adequate
economic substance that they come

together.

474

Burke
CHA|RMAN BYRNE: l guess part of the
question -- and maybe this is where both
of us are going -- is economic substance
related -- if economic substance is
related to fair market value, what's the
relationship?
THE W|TNESS: What‘s the what?
CHA|RMAN BYRNE: What‘s the
relationship?
THE WlTNESS: Between fair market ~-
CHA|RMAN BYRNE: You can -~ you can
be -- you can have economic substance, one
would think, without having fair market
value. `
ARB|TRATOR MOXLEY: And vice versa?
CHA|RMAN BYRNE: And vice versa.
THE W|TNESS: That might be the case
in anything except where a gift is
involved. And a giftl when it is shares
depends on what the fair market value is.
l mean that's part of determining whether
the gift has occurred.
CHA|RMAN BYRNE: No, no. That's all

right l hear you saying that if you are

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talking about shares --

THE WlTNESS: Right.

CHA|RMAN BYRNE: ~~ economic
substance is more likely than not measured
by fair market value?

THE W|TNESS: lt is one of the
measures yes

CHA|RMAN BYRNE: What, Other than
fair market value, is considered in
determining whether a transaction has
economic substance?

THE W|TNESS: Okay. The
relationship between the parties That
is, in this case, did the donor treat the
charity as a shareholder? You also look
at how the relationship between the
parties -- how their economic
relationships changed, and it could be
evidenced by such things as obviously, the
payment for the shares at the time, but
also behaviors like, were there
distributions and what were the rights of
the shareholders and things of that type

CHA|RMAN BYRNE: A|l right Thank

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Burke
you.
ARB|TRATOR MOXLEY: See, my
impression -- and l only say this so you
can disabuse me of this if you don't think
l don't have it right -- but my impression
would be that $2 million standing alone
would appear to be economic substance
And so that whether you are talking
2 million or you are talking
11.4 million you have economic substance
But the question would be, is it
also fair market value because, as l
understand what you have said, is that you
need fair market value to uphold the
equality -- not of two shares of stock.
ls that a fair summary or am l --
THE W|TNESS: l think it is.
ARB|TRATOR MOXLEY: -- missing it in
terms of what you're saying? Okay.
ARB|TRATOR KRAMER: Do you mind?
MR. KUSHNER: No, please
ARB|TRATOR KRAMER: Ms. Burke,
realistically, do you -- could you imagine

other viable candidates to purchase this

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stock beyond Upper Deck or its affiliates?

THE W|TNESS: That's very dichult
for me to say,

ARB|TRATOR KRAMER: lf there were no
other viable purchasers so that the market
consisted of one, what would be the
importance of a fair market value
appraisal?

THE W|TNESS: That's generally when
it becomes most important for tax purposes
because when there are multiple buyers
then there is generally viewed as a
willing buyer and a willing seller, and
that will set a marketplace |t's
generally when there isn't a market that
having a fair market value appraisal
becomes very, very important

ARB|TRATOR KRAMER: Looking at it
differently, and following up on
Mr. Moxley's questions is there a
difference between a significant gift and
the economic substance of a gift of a
bundle of shareholder rights?

THE W|TNESS: l'm not sure l exactly

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Burke
understand the question

ARBlTRATOR KRAMER: $2 million is a
lot of cash. So it's a significant gift
and it has substance But in this
particular transaction, what l imagine is
being given is notjust a cash value, We
don't know what the value is on the date
it's given lt's a bundle of shareholder
rights

lf they are so carved away, have
they been given? lf they are so carved
away, as in the documentation that we have
got here, is that one of the things that's
examined in exploring the fair market
value of those rights or the viability of
the gift?

THE W|TNESS: Are you asking about
what a court would look at in determining
the value of the shares at the time they
were given to a charity versus what was
paid? |‘m not sure |‘m getting the gist
of your question

ARB|TRATOR KRAMER: l'm not looking

so much at valuation l'm looking at

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economic substance in terms of the rights
that were given

THE W|TNESS: Okay.

ARBlTRATOR KRAMER: Because, as l
understand it from reading your reports
economic substance doesn't just depend on
the quantity of money,

THE W|TNESS: lt doesn't depend on
what? l'm sorry.

ARB|TRATOR KRAMER: On the quantity
of money, the sum of money.

THE W|TNESS: That's absolutely
correct Yes. So your question is, would
the rights that were given also impact
economic substance?

ARB|TRATOR KRAMER: Yes.

THE W|TNESS: And the answer to that
is yes

ARB|TRATOR KRAMER: Thank you.

BY MR. KUSHNER:

Q. l think you mentioned before that

you have reviewed the lRS April 2004 notice

concerning SC2 transactions? lt's Exhibit 223.

A. Yes, l have.

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Burke

lVlR. KUSHNER: Do you have a copy?
Oh, you do. Okay. Thank you.

MR. WAHLQU|ST: Um-hum. | will take
yours.

MR. KUSHNER: No, but that's mine.

MR.WAHLQU|ST: That's yours? lcan
pull it out.

MR. KUSHNER: lwill wait for you.
l'm soiry.

MR. WAHLQU|ST: loan pull it out
203?

MR. KUSHNER: 223.

BY MR. KUSHNER:

Q. What type or what role does a notice

of this type play usually?

A. A notice of this type is called a

i_isting Notice, and its role is to put

taxpayers on notice that the lRS will challenge
this type of transaction lt also serves as

the point at which certain reports have to be
done by vendors taxpayers and advisors to the

lRSA

Q. And is there some part of this

report that deals with the substance --the

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reason for the listing?

A4 Let me make sure l understand

Q. Well, let me withdraw the question
and ask you on page 2 of the report under
"Discussion," second paragraph, the notice
refers to, "The Service intends to challenge
the purported tax benefits from this
transaction based on the application of various
theories including judicial doctrines such as
substance over form." is it unusual for a
notice of this type not to rely on lRS rules
and regulations?

A. Well, my experience with notices of
this type is that -- first, notices of this
type are drafted in the office of chief
counsel, and while they are published by
Treasury, the Department of the Treasury, there
is always a negotiation about them. And
essentially, as members of the office of chief
counsel, we were always required to find a
technical basis for listing the transaction
By "technical basis," l mean a basis found in
the code and the regulations themselves

lt is a sign of weakness in my

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Burke
opinion and obviously, this was issued after l
left under a different chief counsel than was
in position when lwas there, but if you have
to resort to judicial doctrines it generally
means that you have no other basis for
challenging the transaction

Q. So far as you know, did the
transaction, as structured in the Upper Deck
case -- as originally structured, violate any
lRS rule or regulation?

A. The transaction as originally
structured in the lRS, advocate -- what was
your question?

Q. Did it violate any lRS rule or
regulation?

A. How would the lRS rule? Was that
your question?

CHA|RMAN BYRNE: No, as originally
structured.
THE WlTNESS: Yes. ljust didn't

hear you.

CHA|RMAN BYRNE: Did the SC squared
transaction violate any code, ruies, or

technical provisions?

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THE W|TNESS: No, it did not

CHAlRMAN BYRNE: its success
however, depended -- always depended upon
a successful interpretation of those
provisions and regulations as applicable
to the transaction lt didn't mean they
weren't going to challenge it. lt just
didn't mean -- it just meant that on their
face, they didn't violate?

THE W|TNESS: Well, l believe your
question is would the challenge -- would a
successful challenge relate to the code
and regulations'?

CHA|RMAN BYRNE: Fair enough.

THE W|TNESS: l believe that the
Service could have attempted to challenge
this transaction on the two classes of
stock argument but l do not think they
would have won that, When you resort to
judicial doctrines you are essentially
arguing the facts of the case as they
relate to principles like was ita valid
gift made? Was the charity treated as a

shareholder? Was fair market value the

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Burke

standard for the buy out? in otherwords,

those are the things that the judicial

doctrines pertain to.
BY MR. KUSHNER:

Q. l also think you mentioned that you
reviewed the lRS November 2004 coordinated
issue paper regarding SC2 transactions?

A. l did.

Q. This is Exhibit 274. Do you have
that before you?

A. l do.

Q. What role does a paper of this kind
play?

A. A coordinated issue paper‘s role is
to guide agents in how they develop issues

Q. And does it have any kind of
precedential value?

A. No.

Q. Again, is it fairto state that this
coordinated issue paper is based on the lack of
judicial --the lack of economic substance?

A. Parts of it are, yes.

Q. And you have already said that that

kind of challenge requires intensive factual

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determination?
A. That's correct
Q. There was testimony yesterday by
Mr. McWilliam, that the lRS conducted
investigation for over three and a half years
into Upper Deck affairs and issued countless --
maybe he didn't count the number, but a number
of lDRs. ls that the kind of factual inquiry
the lRS would be conducting?
MR.WAHLQUlST: Objection. That
misstates the evidence with respect to the
SC squared transaction.
CHA|RMAN BYRNE: lt does because he
never said that they were the kind of -
he never said that any of the requests for
documents related to the SC squared
transaction.
lVly understanding was he had the
lRS -- after he agreed to voluntary
disclosure, they were looking through
everything else.
MR. KUSHNER: Well, we can resolve
the --
CHA|RMAN BYRNE: Just you know, kind

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Burke
of break it out a little better.
MR. KUSHNER: We can resolve the
question. We have the lDRs in evidence
lf you want to give me time, l will -- l
mean l make the representation that they
indeed did center on the SCZ transaction.
MR. WAHLQU|ST: Not over three and a
half years, they didn‘t.
CHA|RMAN BYRNE: A|| right, look --
MR. KUSHNER: Maybe Mr. --
CHA|RMAN BYRNE: -- assuming they
all related to the SC squared transaction,
does that sound right?
THE W|TNESS: What‘s the question?
|‘m sorry, |‘ve lost the train.
BY MR. KUSHNER:
Q. Let me reframe the question.
Assuming that the various lRS lDRs
concerned, among other things the SCZ
transactions is that the kind of factual
inquiry the lRS would be conducting?
A. The answer to that is yes
however -- yes.

Q. You have reviewed the settlement

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Oct 12 arb hearing 10/12/2006 11:00:00 AlVl

Burke
offer that the lRS made to Upper Deck in April
of 2005?

A. l have.

Q. |n your opinion, was the settlement
offer the lRS offered in April 2005 the best
result that the transaction, as structured,
could have achieved?

A. No.

Q. And what's the reason for your
opinion?

A. My opinion is that had the
transaction as structured proceeded, that the
facts that were developed would have been
excellent, and this would have been a good case
to litigatel and l think the odds ofwinning
the litigation would have been good.

Q. Assuming that based on a fair market
value appraisal by an independent appraiser
supported a value of $11.4 million in April of
2003, and that the Austin Firetighters had
exercised its Put and had tendered its stock
and had received that amount, in your opinion,
would that have, in large measure, ensured the

success of the transaction as structured?

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Burke

A. l believe it would have.

Q. Can you explain the reasons for your
opinion?

A. l believe it would be very dichu|t
for any court to come to the conclusion that a
charity, who received $11.4 million from this
transaction, which was supported by fair market
value, would not have had economic substance

Q. Would you agree with the statement
"resort to judicial doctrine" by the lRS is a
last resort?

A. l believe it is.

Q. And as of the time you left the lRS
in July 2003, were you at all aware of SCZ
transactions?

A. l was not.

Q. |f that had been a matter for
consideration by the lRS, would that have
fallen within your office?

A. My office would have been involved
in the analysis yes.

MR. KUSHNER: l have no further
questions

CHA|RMAN BYRNE: Ms. Burke, before
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you move over and we will take a break,
and we will move you over here, and have
counsel question, | want --

THE W|TNESS: What comprises taking
a break?

CHA|RMAN BYRNE: Ten minutes or so,
Would you like to do it now? Would you
like to take a ten-minute break now?

THE W|TNESS: l'm fine.

CHA|RMAN BYRNE: We have been
looking at a transaction with a charity, a
particular stock given for a particular
period of time, pursuant to a generic, we
have been calling it SC squared
transaction, We know because we have been
told or we have read, that there were 50
some odd of these out there all at the
same time.

Most, if not all of Which, were
developed by KPMG designed specifically SC
squaredl the S to a C and back again, we
got it. it's only marketed to S
corporations or to or through a C corp.

The Senate investigatory Committee

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Burke
was getting very cranky with Enron and
accounting firms and tax schemes and
overreaching, mass market products What
ro|e, if any, do ali those -- any or all
of those things l mentioned, play in
taking a look at a single transaction from
a single company with a single charity and
the likelihood of success?

THE WlTNESS: Are you asking at the
lRS?

CHAlRMAN BYRN E: With respect to
that transaction anywhere. Anywhere. l
guess l'm asking you to be -- | guess l'm
asking you to put yourself up here and
help me because l need all the help l can
get -- decide how to weigh certain
factors l know you are telling me that
the single -~ this transaction as
contemplated, would have a likelihood of
success

ls that reasonable for me to do as a
fact finder, like a court would be
ultimately deciding this? When l look

around, as presumably that court would

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Oct 12 arb hearing 10/12/2006 11:00:00 AM

Burke
look around, and see 50 some odd of these
suckers on somebody's docket in various
district courts being represented by
the -- all being challenged for different
reasons do l have to put that out of my
mind and say no, l look at a single
transaction, or does what in reality was
going on at the time have anything to do
with the likelihood of success of any
given transaction?

THE WlTNESS: l believe your
question is, does the environment that
existed --

CHA|RMAN BYRNE: lVlore than just the
environment lt was specific

THE WlTNESS: ~- have anything to do
with the success of an individual --
success or failure of an individual
transaction in court?

CHAlRMAN BYRNE: Anywhere.

THE W|TNESS: Could l answer it in
about three different phases?

CHAlRMAN BYRNE: Try seven because

that's what they are asking us to do.

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Buri<e

THE W|TNESS: Okay. The first is
that l believe the environment has a
significant impact on what the lRS and
Treasury are forced to do. l think that
it's probably critical to note that this
transaction was not listed until after the
hearings

CHA|RMAN BYRNE: Unti| afterthe
senate hearings?

THE WlTNESS: The minority report,
and l didn't know about it when l |eft,
which tells me now, l am speculating. Am
l allowed to speculate?

CHA|RMAN BYRNE: Don‘t ask them.
Ask me, in this regard, you can. Go
ahead.

THE W|TNESS: That it had not picked
up until the senate hearings is something
that was creating -- it clearly had no
technical issues lt had a lot of factual
issues. So yes lthink that the
environment had a lot to do with the fact
that the lRS would look at the

transaction,
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CHAlRMAN BYRNE: Well, in August,
October of 2000, taxpayers started getting
the voluntary disclosure and KPMG --

THE W|TNESS: l actually drafted the
voluntary notice. So l'm quite aware of
it, and the idea was to see whether we
could get a universe that we could look
at. So yes, lthink it had a great deal
to do with that.

However, when you look at each
individual case and the facts associated
with those cases l think in court, it
would not and should not have an effect on
the legal answer.

CHA|RMAN BYRNE: Therefore, does the
fac -- does a finding that a product was
"mass marketed -- quotes "mass marketed,
quotes -~ have any impact on the success
on the merits of any particular product?

THE W|TNESS: My personal opinion is
that it does not.

CHAlRMAN BYRNE: Or at least should
not.

THE W|TNESS: |‘m sorry?

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Burke
CHA|RMAN BYRNE: Or at least should

'not.

THE WlTNESS: And should not,
correct

CHA|RMAN BYRNE: Does the --in your
opinion, should the fact that every
generic product being challenged was sold
by the same entity have any impact?

THE W|TNESS: On litigation?

CHAlRMAN BYRNE: Um-hum, on the
likelihood of success

THE W|TNESS: ln litigation?

CHA|RMAN BYRNE: in litigation

THE W|TNESS: No, it should not.

CHA|RMAN BYRNE: Last question from
me before the break. No, two.

From your experience, do you have
any experience with taxpayers who are
requested to make voluntary disclosures
and to continue to do so, so they may
participate in an amnesty program in terms
of penalties waiver of penalties?

THE W|TNESS: Your question is, do l

have any experience with that?

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CHA|RMAN BYRNE: Yes.

THE W|TNESS: Yes.

CHA|RMAN BYRNE: Are there a lot of
taxpayers that turn down the opportunity?

THE W|TNESS: That turn down the
opportunity? That's like proving a
negative. l have no idea.

CHAlRMAN BYRNE: Okay. ln your
ex- -- by that, l mean in your experience,
do many or most taxpayers take advantage
of that kind of opportunity if offered by
the lRS under any kind of circumstances?

ARB|TRATOR MOXLEY: And perhaps
assuming that there is a disclosure

CHA|RMAN BYRNE: lnvolved. Thank
you.

THE W|TNESS: l'm sorry, but l don't
think l can answer that question because
it all depends on the facts the taxpayer
finds itself in.

CHA|RMAN BYRNE: Fair enough. Fair
enough, and in a sense that's a judg- -- l
tried to slip this one on you, but it's

partially a judgment we may have to make.

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Burke

Last question for now. And focus on
challenging an SC squared transaction of
the type we are talking about, either as
contemplated or as consummated

Do you have a sense as to how long
it would take or how much it would cost if
represented by competent accountants and
lawyers and l'm going to take on the lRS,
what you have to go through to do that?

THE W|TNESS: Are you talking in
terms of time?

CHA|RMAN BYRNE: Time and cost. You
were at Alcoa. You probably took a look
at some of the bills and shook your head,
and said "|'m going to outside practice."

THE W|TNESS: ln terms of time, it
would probably -- from the time the audit
begins?

CHA|RMAN BYRNE: Right.

THE W|TNESS: Untii there is a
decision from the court, and the variation
could be -- well, it could probably be
five or six years maybe even more. in

terms of money?
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CHA|RMAN BYRNE: Law hrm, plus
accounting firm, plus --

. THE W|TNESS: lcan't-- l'm not
going to give you a dollar figure. All
l'm going to tell you is that factual
cases cases that depend on the facts, as
opposed to a legal principle, cost a lot
more.

CHA|RMAN BYRNE: Sure, okay. Last
but not least, and l lied to you. l said
two. There are actually three.

From the Service‘s point of view or
reviewing court's point of view, should
insurance -- should potential insurance
with respect to a potential loss factor
into, in any way, to what the insurance --
what the lRS will or will not do or what a
reviewing court will or will not do?

THE WlTNESS: Now, you are asking
about the lRS‘s view?

CHA|RMAN BYRNE: Either one, or
actually both.

THE W|TNESS: l think that the lRS‘s

view --that is an agent looking at a

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Burke
situation, would factor in the fact.

CHA|RMAN BYRNE: How?

THE W|TNESS: l think that he would
believe that if a transaction were
insured, he would want to take a harder
look at it.

CHA|RMAN BYRNE: Because somebody
knew it may be ~- somebody may have
known -- it‘s a simplistic view, but not
necessarily a wrong one. There is a
reason why it's insured. Something could
go wrong.

THE WlTNESS: lt would give him a
reason to look at it.

CHA|RMAN BYRNE: How about from a
reviewing court's point of view? Those of
us who are much more fair minded than lRS
agents

THE W|TNESS: Of course. ldo not
think it should factor in.

CHA|RMAN BYRNE: Okay. Let‘s take
a -- oh, no, you got one? Get it in.
Foliow~up. Fo|low up. Whenever l take a

break and witnesses wander, l'm always

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Oct 12 arb hearing 10/12/2006 11:00:00 AlVl

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afraid that they may not come back. So we
get our questions in as much as we can.
Mr. Kramer, please.

ARB|TRATOR KRAMER: |Vls. Burke --

THE W|TNESS: Yes.

ARB|TRATOR KRAMER: - l believe you
testified that a court would find that
there was economic substance had a charity
received so substantially gifted
$11.3 million. Now, from our previous
discussion, my understanding was that the
bundle of rights would be viewed -- this
is in my interpretation, and l'm not an
expert --the bundle of rights - this is
my understanding of what you said --the
bundle of rights would be viewed as having
shared in the earning potential of the
company.

Let me -- because the bundle of
rights is important The bundle of rights
that was transferred, you said, was
important to economic substance lf the
corporation at the time the stock was

redeemed had been seeing hard times and

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Burke

was in decline, or even a temporary dip,
and for that reason, a fair value of the
stock would be a half million dollars
would you think that a court would End
that there was economic substance in that
gift?

THE W|TNESS: Yes, ido.

ARBlTRATOR KRAMER: So the amount of
money is not necessarily important then?

THE W|TNESS: l'm not sure that l
would agree with that statement because
the amount of money is one of the factors
Howeverl if a company had not performed
well, and the stock followed the
performance, which would normally be the
case with a closely held corporationl then
l believe, frankly, it adds economic
substance that the stock -- if, in fact,
it was in a dip, and if it were fairly
valued that the transaction was far less
than that, l'm assuming your facts were
assuming it would be for less than the 1.3
or whatever the original appraisal was.

ARB|TRATOR KRAMER: Yes.
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THE W|TNESS: l believe that
properly documented, that's helpful. l
think had there been a floor, there would
have been less substance to the
transaction.

ARB|TRATOR KRAMER: And you would
find that the court might consider that
there is economic substance,
notwithstanding that during the
intervening period, there may have been
$200 million of income allocated to the
tax exempt owner of the non-voting shares'.7

THE W|TNESS: Yes.

ARB|TRATOR KRAMER: Thank you.

ARB|TRATOR MOXLEY: l had my
question, but your answer was so clear
that l want to make sure l understood it.
As l understand, what you just told
Mr. Kramer is that it wouldn't matter that
you had a very big -- and he gave an
example of $200 million if l understood
it-- of tax benth that the S corp. is
getting as long as the non-voting shares

upon buy back, got fair market value even

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Burke
if, assuming that's a very small number,
that should be Hne?

THE W|TNESS: That's my opinion.

ARBITRATOR MOXLEY: |t‘s a small
number, and it's very small compared to
the tax benefit that the company is
getting there, and that's fine.

THE W|TNESS: That is my opinion.

ARB|TRATOR MOXLEY: Okay.

THE W|TNESS: Now, lwill say that
l think a court would look at that -- a
court would look at that, but it is my
opinion that properly structured, because
it's unlikely that a corporation had a lot
of income is going to have a low market
value, but yes properly structured with
an appropriate appraisall l stand by that
answer.

ARB|TRATOR MOXLEY: Okay. The
question lwanted to ask you, Mr. Byrne
had asked you a number of questions as to
what a court would do, or might do, in
various scenarios. l have the following

impression, and l will just put it in

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Burke
front of you for you to correct it if l'm
wrong.

My impression is that after the lRS
puts out the kinds of statements of
position, and it lists the SCZ, and it
takes this public position that Upper Deck
had no serious prospect of convincing the
Service to back off, upon showing the
Service what you have called very good
facts if they showed, you know, real
economic value and the like, my sense is
the Service part of, you know, what could
or couldn't happen here, is pretty much
closed by the Service’s opposition And
what the panel here has to think about
potentially is what would a court have
done? You know, is that right, or is
there real room within the Service, even
after they take all these positions and so
forth?

THE W|TNESS: There was wigg|e room
in the Service until the settlement offer
was made,

ARBiTRATOR MOXLEY: And then the

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Burke
settlements have to be uniform because
there is a statute on that?

THE WlTNESS: Correct. So until the
settlement offer was made, there certainly
was room to negotiate orthe facts known,
and hopefully in an objective way. But
once the settlement was made, there was no
room ~ the settlement offer was made,
there was no room to move.

ARB|TRATOR MOXLEY: And there‘s no
wiggle there. l mean l read this in one
of the other papers that there is a
statute and so forth, and that really is
serious lt means what it says that the
Service doesn't go and cut separate deals
once the offer is out.

THE WlTNESS: Yeah, that's correct.
|n fact, they do not.

ARB|TRATOR MOXLEY: They do not.

THE W|TNESS: And my experience is
they do not cut separate deals after the
generic offer goes cut.

MR. KUSHNER: l have just one or two

questions l can wait if you want.
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CHA|RMAN BYRNE: Go ahead before she
moves Go ahead.
BY lVlR. KUSHNER:

Q. Your report has some part of it
which talks about how, in your experience at
the lRS, the easy cases for the lRS were the
ones that were settled, and the hard cases went
to some other forum?

A. Right.

Q. My question really relates to the
length of time, or more properly, do you have
any opinion or experience as to what percentage
of the hard cases for the lRS that went to
litigation, settled before some final outcome?

A. Are you suggesting in cases where
there were what l'm going to call generic
offers?

Q. Well, this case had a generic offer,
didn't it, or did it?

A. l'm trying to understand which cases
you are referring to.

Q. l'm assuming that a case goes to
court?

A. To court.

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Burke

Q. Whatever court it is, and the lRS is
the opposing party, and there is some kind of
ruling that`s made, and it is being contested
The question is --for example, l could tell
you that in civil cases probably 90 percent at
least settle before trial. ls there some
similar »-

A. After they are docketed.

Q. Pardon'?

A. After they're docketed?

Q. After they're filed, sure. ls there
some similar statistic for the lRS?

A. l don't know it. l can guess but
that's what it is. it's a guess Do you want
me to guess?

Q. Thank you. No, that's okay.

ARB|TRATOR MOXLEY: l do have one
other follow-up. Mr. Byrne had asked you

a bunch of questions as to how a court

would look at it, and you talked about and

you answered in response to Mr. Kramer,
too, you know, various points as to what
is economic substance or not.

We have seen statements in various

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Oct 12 arb hearing 10/12/2006 11100:00 AlVl

Burke
of the paper submitted to us about
differences between the different courts
The Ninth Circuit, there is another tax
courtl another circuit Are those
differences such that we need to consider
them, or do we know enough when we have
sort of the general description you have
given us of what is or is not economic
substance? l mean how much significance
do the verbal formulations have?

THE WlTNESS: Okay. |t's actually
an excellent question. You may be aware
that the Coltech case came down this
summer, and it is a Federal Circuit case.
Ad l'm sure you are aware that because in
the tax field, at least, where you have a
Federal Circuit decision, it is often
viewed as better authority than the other
circuits simply because that circuit is
available to all taxpayers

So my feeling is that the results of
that case may change the playing field
with regard to differences that circuits

may have.

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Burke
CHA|RMAN BYRNE: |t‘s more
persuasive than others
THE W|TNESS: Exactly.
CHA|RMAN BYRNE: Like the Second

Circuit in commercial cases

THE W|TNESS: Second Circuit has
influence, but l'm not exactly sure that's

the case in an economic substance case

because it's so factually intensive

ARB|TRATOR MOXLE¥: Thank you.
CHAlRMAN BYRNE: Okay, let's take --
let's reconvene at 3:30, please
(Recess taken.)
CHAlRMAN BYRNE: Mr. Wahlquist,
please
EXAMlNATlON
BY MR. WAHLQU|ST:

Q. Good afternoon, Ms. Burke.

A. Good afternoon.

Q. We met briefly before lintroduced
myse|f, but my name is Duke Wahlquist, and l
represent Upper Deck and Mr. McWilliam in these
proceedings l want to make sure at the outset

of this that absolutely none of my questions
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Burke
will mean you any disrespect You‘ve obviously
had a long and successful career. So if in the
heat of --
MR. KUSHNER: Excuse me, are you
saying nothing personal, just business?
We will accept that,
BY MR. WAHLQU|ST:
Q. And if, in the heat of the moment,
it sounds like l do, l really don't. You have
obviously had a successful career.
l want to talk first a little bit
about this notion of economic substance in the
context of the allocation of the income of
Upper Deck to the Austin Firefighters as a
90 percent shareholder.

Now, in the tax year 2001, over
$36 million of income was allocated to the
Austin Firefighters, and in the tax year 2002,
over $136 million of Upper Deck's taxable
income was allocated to the Austin
Firefrghters. So over a 21-month period,
that's about $172 million being allocated to
the Austin Fireflghters.

is it your testimony then that the

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Burke
difference between whether or not a --that it
makes a difference in whether or not a court
will respect that, whether or not Upper Deck
paid $2 million to redeem the stock, or whether
it paid $11 million?

A. Yes.

Q. ls there any judicial authority you
can cite us to support that proposition?

A. You are talking about the fact --
the authority that | would cite is that,
especially in closely held situations there
needs to be an objective standard of fair
market value. And it-- l'm speaking of the
difference between 2 million and 11.4, and
there was no objective standard of fair market
value at the time of the early redemption.

Ct. Are you suggesting that no purchase
or sale of stock will be respected for tax
purposes without a fair market appraisal before
that purchase or sa|e?

A. ln a closely held situation where
there is a limited marketl l can't say that as
a fact, but | think that it's very often

required.

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Q. Can you cite us to a case or a
regulation that says a court cannot uphold such
a transaction in the absence of a precedent?

A. No, l can't.

Q. One of the - on direct, one of the
things you were asked about, l thinkl was
regulations pertaining to fair market value,
Do you remember some of that testimony?

A. in conjunction with Section 1361?

Q. Actually, in conjunction with 1361,
yeah. ls that what you said?

A. (Nodding.)

Q. Okay. And lwant to make sure --
you said you reviewed the insurance policy in
question?

A. l reviewed it. l can't tell you
that l read every section.

Q. Okay. There were -- did you read
the three KPMG opinions which were appended to
the policy as ExhibitA?

A. Yes.

Q. And did you read the representation
letter that was appended as Exhibit B?

A. l remember -< is that what you mean,

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Burke
the engagement letter?

Q. No, it was a letter signed by Upper
Deck and the MPR Trust that made certain
representations to the insurance company in
this case. Did you read that letter?

A. l probably did, but l can't tell you
that l recollect it,

Q. How about Exhibit C, the actual
shareholders agreement between Upper Deck
and -- excuse me, between MPR Trust and the
Austin Firefighters, did you review that
document?

A. The initial one?

Q. Yeah.

A. Yes

MR. KUSHNER: l think Upper Deck was

a party to that

MR. WAHLQU|ST: lt was
MR. KUSHNER: lcouid be wrong, but
l think so.
BY MR. WAHLQUlST:

Q. Nowl would you agree with the

statement that the best evidence or indication

of the substance of the initial transaction is
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1 Burke

2 that shareholders agreement?

3 A. l would have to qualify that, |

4 would say yes but it determined -- what was

5 determinative was how it was followed.

6 Q. Are you suggesting that there was a

7 breach of that agreement?

8 A. Am l?

9 Q. Yeah, Are you suggesting there was
10 a breach in the shareholders agreement in any
11 respect?

12 A. The only thing l'm stating is the

13 transaction that actually occurred didn't

14 follow that agreement

15 Q. Can you tell us what provision of

16 the shareholders agreement was violated by the
17 transaction in December of 2002?

18 A. Well, the primary provision that was
19 violated was that there was no opportunity for
20 the charity to Put the shares according to the
21 agreement, and therefore, there was no

22 appraisal to determine fair market value_

23 Q. What do you mean? You are saying
24 the charity could not have exercised their Put?
25 A. Well, they didn't.

1 Burke

2 Q. Does that make it a violation of the

3 agreement?

4 A. Not --

5 MR. KUSHNER: l haven't objected

6 till now to the lega|ese, but l object on

7 the ground that he's calling for legal

8 conclusions

9 CHA|RMAN BYRNE: She is doing great
10 She‘s doing pretty good, Counsel.

11 MR. KUSHNER: Fine,

12 CHA|RMAN BYRNE: Don't worry.

13 MR. KUSHNER: Okay. l have to make
14 my money some way,

15 CHA|RMAN BYRNE: She is an expert
16 We have already asked her questions in

17 terms of her expertise in some other legal
18 matters

19 MR. WAHLQUlST: Do you have the
20 policy?
21 MR. KUSHNER: Sure. What would you
22 like her to see?

23 MR. WAHLQU|ST: lwould like her to
24 see the shareholders agreement appended as
25 Exhibit C.

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CHA|RMAN BYRNE: Sure.
BY MR. WAHLQU|ST:

Q. ls that the shareholders agreement
you reviewed?

A. ls that what again?

Q. ls that the shareholders agreement
which you reviewed?

A. l'mjust looking at the date trying
to be sure.

Q. |‘m seldom accused of not being loud
enough.

A. Yes.

Q. Okay. Can you identify for me by
section which provision of that agreement was
violated by the December 2002 stock
transaction?

A. l guess what l would have to tell
you first is l don't know what was violated.

l can tell you that they didn't follow this
agreement

Q. Well, let's talk about what they
fcilowed. Let's look at Section No. 1.

CHA|RMAN BYRNE: Now, Counsel, no.

it's there. Forget it. Her opinion with

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Burke

respect tc -- one, we have been down this

path before, it's really argument lt

says what it says When she said they

didn't follow the procedures we know they

weren't doing it with respect to one.

They were talking about not waiting for a

Put, they are talking about violated --

not violated. They are talking about not

contemplated by the original shareholders

agreement.
MR. WAHLQU|ST: Let me ask a
different question,
CHA|RMAN BYRNE: Go a different way,
BY MR. WAHLQU|ST:

Q. What if the Austin Firefighters
simply elected, during the Put period, they
have a six-month period in which to exercise
the Put. You recall that?

A. From April 1, 2003.

Q. What if they decided not to exercise
the Put, and they wanted to -- they wanted to
go forthe ride. Would that have altered the
viability of this transaction?

A. l do not believe it would have.
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Q. And what is the difference for `
your -- what is the basis for your distinction
between the outcome and the result in those two
circumstances?

A. ln terms of their following ~-

Q. Whether or not this transaction
would survive scrutiny in a court oflaw?

A. The shareholders agreement to which
you are referring, the initial shareholders
agreement, laid out a course of action that
would have resulted in the transaction's having
determined, objectively determined fair market
value, and it also left it to the charity, and
this is the person that will determine in a
way -- let me rephrase that,

l think what you are -- if the
charity chose not to Put the shares then there
is no fair market value to be determined And
l don't think that because the agreement
contemplated that, that that's any sign that
there was lack of economic substance

Q. Well, what if the charity chose not
to exercise its Put, and then five years later

after the Put period expired, the parties

518

Burke

entered into a voluntary transaction without a
fair market value analysis being done by a
third party prior to that? Would that
jeopardize this transaction in tax court?

A. l believe it probably would.

Q. So this transaction is at risk of
being set aside in a circumstance like that, in
your view, for time and eternity?

A. So this transaction

Q. Yeah, the SC squared transaction
is -- are you suggesting that if the charity
fails to exercise the Put, there can never be a
voluntary sale and exchange of the
Firefighters' shares between Upper Deck and the
Firefighters at any time in the future without
a fair market value -- without a fair market
valuation appraisal being done that would not
result in the unravelling of this transaction
for tax purposes?

A. l continue to say that l think it
would be problematic

Q. Okay. Now, so in your view the --
let me ask a different question. The

generic -- let's not phrase it that way, Let's

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take the shareholders agreement that we have
here and take out Section 5, take out the Put.
would that have survived lRS scrutiny or
scrutiny in a tax court?

A. it's tough to say because you have
not given the charity a chance to cash it out,
and l believe that that would create some
negative issues for it.

Q. Well, in fact -- well, can you
identify those issues'? What regulation? What
provision of the tax code? What case would
that run afoul of?

A. Actually, there are several
provisions that you can look at in the
corporate area, including 311 and 301, that
cou|d, aside from the 1361, which could impact
this in a way, that the shareholders could have
had dividends they didn't anticipate, but are
managed as disguised dividends --

Q. l'm sorry, ma'am.

A. Disguised dividends and normally
the protection against that type of imputation
by the Service is that nrst, there is

substance of the transaction, and second, that

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Burke

there is fair market value So there actually
is authority that emanates from those sections
that does that, You know, ldidn't cover that
so l can't tell you today.

Q. Well, let's talk about the one
section that has been identified The only
section that has been identified by any tax
lawyer or accountant that we have seen any
documents from or reports from in this case and
that is 1361l right? Now, 1361 is quoted in
the opinions of KPMG, which are appended to the
policy as ExhibitA. That's Exhibit 104 to
these proceedings ExhibitA to that, and l
believe it's the second letter. l have
projected it up on the screen in front of us.
Do you see regulation Section 1361 there?

A. No, l can't see it, but |‘m
relatively familiar with it.

Q. Do you have it in front of you?

ARB|TRATOR MOXLE¥: Page 6,
THE W|TNESS: Yes.
A. l'm looking at a KPMG opinion.
Q. Okay. Now Section 1361, that's a

regulation published by which agency?
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A. Actually, it isn't. Section 1361 is
the code section. The regulation is 1-1361-1.
Actual|y it's 023.

Q. And you are familiar with this
regulation, right?

A. Yes.

Q. Doesn't this regulation simply
address a potential problem in the put
agreement, which is a buy/sell agreement,
creating a second class of stock?

A. The regulation doesn't address
anything in the agreement The regulation
addresses in generic terms when a sub S
corporation does or does not have a second
class of stock.

Q. And the section or the subsection
that‘s quoted right here says that, "Buy/seli
agreements." Would you agree with me that the
Put is a buy/sell agreement?

A. The shareholders agreement?

Q. Yeah, the Put is in the shareholders
agreement, but not all shareholders agreements
are buy/sell agreements right?

A. l'm not sure l can agree with that

Burke
because what essentially -- never mind. l'm
not sure.

CHA|RMAN BYRNE: Shareho|d- -- not
all shareholder agreements generically are
buy/sell agreements

THE W|TNESS: That's correct

CHA|RMAN BYRNE: With respect to the
subS, for example

THE W|TNESS: Well, yeah, but --
yeah, ljust can't agree that | think
this agreement was a buy/sell agreement

BY MR. WAHLQU|ST:

Q. You don't think the Put was a
buy/sell agreement at al|?

A. The Put was a redemption.

Q. And a redemption is -- well, there
is a redemption agreement, and this -- this
code or this regulation addresses redemption
agreements as well, right?

A. lt does

Q. So the -- would you agree that the
Put is a redemption agreement? it's an
agreement pertaining --

A. lwould agree that Section -- what

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is lt 5 is -

Q. Section 5.

A. -- cf the shareholders agreement
deals with a Put, which a redemption.

Q. And at least in KPMG's analysis the
reason they looked at that was be- -~ they were
concerned that the put would run afoul of this
provision, correct?

A. Yes, l believe that is correct.

Q. And one of the ways to run afoul of
this provision is to have an agreement
establishing a purchase price that, at the time
the agreement is entered into, is significantly
in excess of or below the fair market value of
the stock, correct?

A. That's correct.

Q. And isn't the agreement that's
spoken to there the redemption agreement?

A. Actually, the agreement that's
spoken to here is -- well, the agreement that
was spoken to here was the price at the time
that the shares were given to the charity. And
then the Put is what it refers to, and that is

why, specifically, a fair market value

524

Burke
appraisal was put into Section 5 of the
agreement so that they would not run afoul of
this provision.

Q. And isn't the concern that if they
didn't put the fair market value provision in
the redemption agreement?

A. Yes that is a very large concern.

Q. Okay. That the redemption
agreement, itself, might create a second class
of stock?

A. Absolutely.

Q. And did you see anything in the
redemption agreement that ran afoul of that?

A. This agreement? The?

Q. The one right in front of you, yeah,
The shareholders agreement you just put your
tinger on.

A. As structured?

Q. Correct.

A. No.

Q. And isn't that all the regulation
addresses?

A. No.

Q. Where, in this regulation, does it
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Burke

address a subsequent agreement?

A. Because the subsequent agreement was
a buy/sell agreement, So it's -- directly
addresses that agreement

Q. Can you cite an authority, any
authority, for the proposition that the
agreement referred to there is an -- a mutual
exchange of stock at a subsequent time?

A. l'm not following you.

Q. Well, l'm not--

CHA|RMAN BYRNE: Are you asking us
to determine --

MR. WAHLQU|ST: Let me -- let me
rephrase the question.

CHA|RMAN BYRNE: --that a buy/ --
whether a buy/sell agreement, includes a
stock repurchase agreement? ls that what
you want us to do?

MR. WAHLQU|ST: Whether or not the
redemption agreement in this provision
addresses

CHAlRMAN BYRNE: That's not what you
asked her. That’s not what you asked her.

MR. var-rl_oursT: okay. And that's --

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Burke

l'm trying to get there.

CHA|RMAN BYRNE: l know.

MR. WAHLQU|ST: You are going to
have to be -- give me a little bit of
indulgence here.

BY MR. WAHLQU|ST:

Q. Ms. Burke, ifa corporation -- if we
are talking about an agreement where the
corporation buys the shares back in this
particular circumstance, how could that ever
have created a second class of stock?

A. How could it ever what?

Q. How could that ever have created a
second class of stock? There is only one
outstanding shareholder after the redemption,
right?

A. Right.

Q. On|y one outstanding class of stock,
right?

A. Right.

Q. So it could never --in this
context, a subsequent redemption agreement like
this could never run afoul of that provision,

right?

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Burke

A. That is not true.

Q. Okay. How-- postulate a
hypothetical for me where a redemption by the
shareholder would actually lead to outstanding
classes of stock?

A. Well, first, a shareholder can't
redeem.

Q. l'm sorry.

A. Only a corporation can redeem.

Q. And you corrected me, and that's as
you should have Where the corporation's
redemption of the stock would create a second
class of stock?

A. ln the second of the subS
corporation with all the limitations around
qualifying for subS, this specific regulation
would apply to any buy/sell agreement in that
situation. So it definitely applies to the
second agreement

Q. So you are saying the -- let's talk
about the - you are familiar with Section 3 of
the shareholders agreement as well?

A. Can l check to see what it is?

Q. Sure. lbelieve that isthe right

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Burke
of first refusal.

A. Which of these exhibits is the
shareholder agreement? l have four’?

Oh, no -- A, B, C.

Q. lt's C.

A. C, okay.

Q. Exhibit C.

MR. KUSHNER: You might want to take

-- it's very small, Do you want one with

larger print? No. iine.

THE WlTNESS: No, it's Hne.

Q. And l actually want to look at
Section 2, which is on page 2 of that
shareholders agreement?

A. Are you still in Section 3?

Q. No, l'm on Section 2.

CHA|RMAN BYRNE: Can we go off the
record for a second?
(Discussion off the record.)
BY lVlR. WAHLQUlST:

Q. Ms. Burke, have you read Section 2
of the shareholders agreement?

A. Yes

Q. lt provides generally for a right of
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1 Burke 1 Burke
2 tirst refusal for Upper Deck to purchase the 2 Upper Deck said we will take it, the
3 stock at any price at which the Firetighters 3 transaction had proceeded that way. Are you
4 proposed to transfer it to another party, 4 suggesting the transaction would work in court?
5 correct? 5 A. Yes, with the condition that it was
5 MR. KUSHNER: | object That's not 6 a completely third party transaction, the offer
7 what it says 7 was completely third party.
8 CHA|RMAN BYRNE: lt says what it 8 Q. Even though it was not fair market
9 says. 9 value?
10 MR. KUSHNER: Well, tine, but| mean 10 A. Actually, the definition of fair
11 why mischaracterize it? 11 market value is that between an independent
12 CHA|RMAN BYRNE: Counsel. it wasn't 12 willing buyer and a willing seller, and when
13 really mischaracterizing. lt was 13 that can't be established, or there is not
14 capsu|izing the general import of Section 14 independence. This would be the case with
15 -- Section 2 is known to the witness, 15 McWilliam, the MPR Trust, and the Fund, then
16 fair? 16 you must resort to other methods to determine
17 THE W|TNESS: l was just going to 17 fair market value, the primary of which is an
18 wait until he tinished his question. 18 appraisa|.
19 CHAlRMAN BYRNE: That's all right. 19 Q. Well, by the supposition of the
20 Fair? 20 valuation report for 11.4 million that you
21 THE W|TNESS: (Nodding.) 21 reviewed? lt said the stock was worth, l
22 BY MR. WAHLQU|ST: 22 guess, 11.3 million in December?
23 Q. What if somebody made a |owball A. Yes.
24 offer to Austin Firetighters, and they said for Q. There probably ought to be a lot of
25 whatever reason, we think we would rather have buyers for the stock at $2 million, right?
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1 Burke 1 Burke
2 the money than the stock at that point, So 2 A. l'm sorry. What are you asking me
3 they go to Upper Deck and say, you have a right 3 to agree with?
4 of tirst refusal. OthenNise, we are going to 4 Q. lf, in fact, the stock was worth
5 sell it at what may well be way below fair 5 $11.3 million in December of 2002l there ought
6 market value. Upper Deck says okay, and buys 6 to be a lot of people willing to pay 2 million
7 the shares? 7 for it, right?
8 At Upper Deck buys the shares? 8 A. Well, you asked me to assume that
9 Q. Um-hum. That transaction work in 9 the charity was willing to accept it.
10 court? 10 CHAlRMAN BYRNE: And the answer to
11 A. l think itwou|d. lt would hold up. 11 the question is yes.
12 Q. Even though it's not for fair market 12 THE W|TNESS: Okay.
13 value? 13 Ai And what is your question again?
14 A. lt would hold up if the person -- 14 l'm sorry.
15 CHA|RMAN BYRNE: lf it was a bona 15 BY MR. WAHLQU|ST:
16 fide offer. 16 Q. Well, the question is, if it were a
17 A. -- if the person who made the offer 17 $2 million transaction in December of 2002,
18 was a third party not associated with the 18 done pursuant to the right of tirst refusal,
19 shareholders of Upper Deck. 19 your testimony then is that would survive
20 Q. So if they had -- 20 scrutiny in court; is that correct?
21 A. lf there is a bona fide third party. 21 A. lf it were a bona Hde third party
22 Q. So if somebody had come in in 22 offer.
23 December of 2002 and said, "Here is $2 miliion. 23 Q. Even if it were not for fair market
24 we will take the stock." And the Firefighters 24 value?
25 had gone to Upper Deck and said $2 million, and 25 A. lt would not -
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CHAlRMAN BYRNE: No, because fair
market value is then determined, not by an
appraisal, fair market value was
determined by a bona tide purchase

MR. WAHLQU|ST: A lot of purchases
are for below fair market value

CHA|RMAN BYRNE: The reg and
judicial interpretation ot the reg, fair
market value as determined by a -- l think
it's A, bona tide purchase by a third
party in an arm's-length transaction, B
it's an art, not a science lt doesn't
even say appraisal except as an example
lt says "A valuation determined under
reasonable circumstances," blah, blah,
blah, blah, blah, blah, blah, blah. No,
no, no, no, no, no, no. The definition of
fair market value, the reg that-- not
that reg, but the reg --the section
and/or the reg that talks about fair
market value defines it as. So don’t
switch regs when you are asking her a
question

MR. WAHLQU|ST: Okay, let's assume

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Burke

that the reg says -- we||, let me ask you

this then.

BY MR. WAHLQU|ST:

Q. What if Upper Deck had bought the
stock back for $20 million, would it survive
scrutiny in court?

A. Who are you asking?

Q. You.

CHAlRMAN BYRNE: You.

A. Oh. l do not believe it would have.

Q. And is that because there was no
economic substance to this transaction?

A. lt's because it was substantially
above fair market value.

Q. And does that render the
transaction --

A. And therefore, there was no economic
substance

Q. Al| right So you‘d say there is no
economic substance to this transactionl even if
Upper Deck had paid $20 million for the stock;
is that right?

A. lf those are the only factsl yes.

CHA|RMAN BYRNE: And when you

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contested, theretore, you -- one would --
the taxpayer would say "lRS, you are out
of your mind. $20 million was more than
fair market value. Here are a gagillion
valuations we have. Here are our internal
reports You do it. At tops, it was
worth at the time the 20 million was more
than fair market value, or the 15 million
was more than fair market value, or the
$2 million was fair market value if, at
the time, you can back it up?

THE W|TNESS: Correct.

CHAlRMAN BYRNE: lt ain‘t the
number, lt's what's behind it?

THE W|TNESS: That`s correct.
CHAlRMAN BYRNE: Thank you.
Counsel, that makes your point as well as

anything else.
BY MR. WAHLQU|ST:

Q. Let's talk a little bit about
courts

A. About what?

Q. Courts. How do you wind up in

District Court in tax |itigation?

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Burke

A. How do you wind up in District
Court?

Q. Yeah.

A. ln a tax case, to wind up in
District Court, a taxpayer must first pay the
amount of the assessment and then sue for a
refund.

Q. So hypothetically, if the lRS had
said to Upper Deck, "You have a second class of
stock. We are assessing you with income taxes,
the corporation, on that basis." And Upper
Deck would have disagreed, they wanted to get
into District Court, they would have to pay the
taxes, and then sue the lRS to get it back?

A. That's correct

Q. Similarly, if the lRS had said to
Mr. McWilliam, "We think the allocation of the
-- we, the lRS, think the allocation of the
income to the Firefighters is inappropriate
We are going to assess it to you."

Mr. McWilliam wanted to contest

that He would have had to have paid the
income tax and gone -- before he could go to

District Court, right?
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Burke

A. That's correct

Q. How do you wind up in tax court?

A. You simply appeal the deficiency
You docket the case You do not have to pay
irst.

Q. Now, have you done the analysis --
if the lRS had done an assessment here, how
much Upper Deck and Mr. McWilliam would have
had to have shelled out before they could
litigate in District Court?

A. Would the lRS take that into
consideration? ls that your --

CHA|RMAN BYRNE: No, no. no. Have
you, Ms. Burke, done any calculation in
connection with your review of the
documents, or the settlement agreement, or
whatever what Upper Deck or Mr. McWilliam
would have had to have shelled out?

THE W|TNESS: To get into tax court?

MR. WAHLQU|ST: No.

CHAlRMAN BYRNE: To get into -- to
get into District Court,

THE W|TNESS: He would have had to

shell out the amount of the assessment

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Burke
BY MR. WAHLQU|ST:

Q. Which would have been, assuming both
those assessments ljust identified, an
assessment against Upper Deck and an assessment
against himl he'd have had to shell out close
to $140 million to litigate in District Court,
right?

A. The answer to that's most |ikely.
Sometimes that could be negotiated so it's only
counted once

Q. Negotiated with whom?

A. With the courts. l mean you can
agree that the lRS will agree that there is
only one liability.

Q. Okay. Now, in Tax Court, do you get
a jury?

Pardon me?

|n Tax Court, do you get a jury?
No.

Do you get a judge?

.>p.>p

Or two or three
Q. And is there --in your experience,
do tax practitioners regard one of those forums

as more hospitable than the other?

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Burke
A. lt would depend on the case
CHA|RMAN BYRNE: Would it not also
depend on the District Court orthe

Circuit you are in?

THE WlTNESS: lt would depend on the
precedent yes.

Q. Would you agree that in general, Tax
Court is regarded as a less favorable forum for
the taxpayer than is District Court?

A. l would agree that it is generally
viewed that way. l would not agree that is
necessarily the case

Q. So in that regard, you would
disagree with the general view of tax
practitioners; is that correct?

A. Are you asking me what the general
view of the ta)< practitioners are -- is?

Q. Well, yeah.

A. l think the general view of the tax
practitioners would be Tax Court is a less
favorable jurisdiction

Q. Okay. And you disagree with that?

A. Yes, l do.

CHAlRMAN BYRNE: lt's not that you

540

Burke
disagree with the general view. You
disagree that-- you simply disagree that
Tax Court is generally less favorable to
the taxpayer.
THE W|TNESS: That's correct
BY MR. WAHLQUlST:
Q. Have you read the report of another
expert in this case, Mr. Robert Burke?
Yes, l have
ls he any relation to you?
Pardon me?
ls he any relation to you?

No.

.O.>_o.>.O

Now, Mr. Burke has ~-

CHA|RMAN BYRNE: The way you said
that, and the way he speaks so highly of
you, l was very surprised

THE W|TNESS: No, l have never known
Robert before, never seen him in the
flesh, don't know him.

BY MR. WAHLQU|ST:

Q. Okay. Would you disagree with the
statement that it's commonly viewed by tax

practitioners -- as the Tax Court is commonly
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Burke
viewed as a signihcantly more pro government
forum than many United States Federal District
Courts or the Court of Claims?

A. Would l disagree that that is the
view of tax practitioners? Without the word
"significant," lwould agree with him.

Q. But as phrasedl you disagree with
it?

A. Probably.

Q. Okay. Would you agree that because
the SC squared strategy was a marketed strategy
initiated by KPMG, in a substantially
prestructured formats, courts could be expected
to take a critical view of SC squared?

A. No, lcan‘t agree with that because
the cases are factual. They can be different

Q. So you disagree?

A. l disagree

Q. Would you disagree with the
proposition that with respect to the SC squared
transaction, there was a likelihood of a
negative bias by the courts?

A. l guess l have to disagree with that

as we|l.

542

Burke

Q. So if Mr. Burke said that, that
would be wrong?

CHAlRMAN BYRNE: Sustained.

MR. KUSHNER: l'm not objecting to
the fact that there are sentences
following that, which might put it more
fairly, but that's okay.

CHA|RMAN BYRNE: So you don't mind
that l sustained the objection you didn't
make? ls that okay?

MR. KUSHNER: Yes.

CHA|RMAN BYRNE: Are we good?

MR. KUSHNER: Yes.

CHA|RMAN BYRNE: Thank you.

BY MR. WAHLQU|ST:

Q. Would you agree or disagree with the
proposition that with respect to many SC
squared transactions, there would be a distinct
possibility that a court would disregard the
professed purpose of benefiting the tax exempt
entity and find that the shareholders were
motivated solely by a tax avoidance purposes
because the tax benefits associated with a gift

to a tax exempt entity, to the tax exempt

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Burke

entity, potentially exceeded the value of the
gift?

A. Would l agree with that statement?

Q. Agree or disagree?

A. The statement was -~ read it to me
again, please

CHAlRMAN BYRNE: Well, can we show
it to her. Can l grab -- tell me what
page and l will get my copy for her.
MR. WAHLQU|ST: Page 15 of

Mr. Burke's report

A_ (Perusing.) Now, are you asking me
if l agree with that statement?

Q. Yes.

A. l can neither just agree or
disagree Basically, he -- because these are
factual cases, it would very much depend on the
facts.

Q. And because they are factual cases,
the facts as found by the trial court are, in
all likelihood, going to be sustained on
appeal, correct?

A. That is normally the way the rules

work, yes.

544

Burke
CHA|RMAN BYRNE: And don't ever
forget it,
MR. WAHLQU|ST: l can't
BY MR. WAHLQU|ST:

Q. So if the trial court is, in fact,
inhospitable and it turns on the facts of the
case, would you agree that makes it a less
advantageous forum for the taxpayer/2

A. Could you leave your hand away?

Q. l'm sorry. lt's better if you can
see me, |f, in fact, the Tax Court is a less
advantageous forum for the taxpayer, and if, in
fact, the case is going to turn on the facts of
the case rather than the law, which can be
reviewed on appeal with a greater degree of
scrutiny by an appellate court, you can --
would you agree that that would make the Tax
Court likely the final deterrniner with respect
to this case'? 2

A. Well, l have a problem because l
don't agree with your premise

Q. But l'm allowed to ask hypothetical
questions.

A. So your question is, if the Tax

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Burke
Court -- what was your final question?

Q. The final question is, isn't it
likely if Mr. McWilliam and Upper Deck had gone
to Tax Court, and the Tax Court had found the
facts disadvantageously to him, that he would
have had a tough road on appeal?

A. |f the Tax Court found the facts
disadvantageous to the taxpayer?

Q. |f they found against him. |f they
found, for example Mr. McWilliam had no
donative intent?

A. Okay. Then what's your question?

Q. Wouldn't you agree that if a Tax
Court found that, that would be very dichult
to attack on appeal in this case?

A. Yes.

Q. Have you ever tried a case in Tax
Coun?

A. No.

Q. Have you ever tried a case in
District Court?

A. |n what?

Q. District court?

A. No.

546
Burke

Q. Have you ever tried a case in a
Court of Claims?

A. Yes.

Q. Have you ever tried a tax case in
the Court of Claims?

A. Yes.

Q. How many?

A. Pardon me?

Q. How many?

A. One.

Q. Have you ever argued an appeal
before the Ninth Circuit Court of Appeals?

A. Have | ever what?

Q. Ever argued an appeal before the
Ninth Circuit Court of Appeals?

A. No.

Q. Have you ever argued an appeal
before the Federal Circuit Court?

A. No.

Ct. There was some discussion on
redirect about what l will call the climate,
and whether or not it affects an outcome in a
court Do you remember thatdiscussicn? ls
that a "Yes“?

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Burke

A. Yes, |‘m sorry.

Q. lf l understood the gist of your
testimony, and l may be wrong because l want to
make sure l understand it, aspirationally, we
would all agree that the mle of law should be
supreme, and it doesn't matter who the parties
are, what they look like The law should be
applied evenly, right, outside divorced from
the context of the political furor that might
be surrounding it; is that right?

A. Yes.

Q. And while that may be an
aspirational goal, is it your opinion that it
always happens?

CHA|RMAN BYRNE: You better say no.

A. No.

Q. And so you would agree that the
climate in which the litigants find themselves
in court can affect the outcome of the case?

A. lwould agree that it can, yes

Q. You spent 27 years at Alcoa?

A. Correct.

Q. Did you ever work with an

S corporation there?

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Burke

A. As a matter of fact, l did, yes.

Q. On how many occasions?

A. Pardon me?

Q. On how many occasions?

A. The S Corp -- probably about ten.

Q. Did you work with S corporations ~~
well, strike that

You reviewed the KPMG opinions.
They make use of language like "taxpayer should
prevail." Do you know that language?

A. Yes,

Q. KPMG apparently suggested to the
Senate in their investigations by that
expression, they meant 70 percent chance of
prevailing ls that generally the way you
understand that expression?

A. lt generally means there is a good
chance of prevailing, yes.

Q. They also use the expression "more
likely than not, "right?

A. Yes.

Q. And that that‘s a commonly used
expression in a tax opinionl "more likely than
not"?

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upper deck-aig arb

Burke
Yes.

As is "should prevail," right?

.>,O.>

Yes.

Q. And there are other commonly used
expressions that go with certain degrees of
confidence in a tax opinion, correct?

A. ln the tax accounting freld, yes.

Q. Are you familiar with the
expression, "reasonable basis"?

A. Yes.

Q. Do you know what that means?

A. Yes.

Q. What does it mean?

A, lt means that there is a basis for
the claim.

Q. Doesn't it generally mean one chance
in three, at least one chance in three?

A. No, l've actually never heard that

Q. Pardon me?

A. l have never heard that, no, l was
just thought -- no, l haven't heard that

Q. You, in your report use the
expression "good chance"?

A. Um-hum.

550

Burke
Q. What does that mean?
A. l think it means they could prevai|.
CHA|RMAN BYRNE: More than -- better
than 50/50?
THE WlTNESS: Pardon me?
CHA|RMAN BYRNE: Better than 50/50?
THE WlTNESS: Yes.
BY MR. WAHLQU|ST:
Q. How much better?
A. Do you have to be better than 50 --
more than 50?
CHAlRMAN BYRNE: Well, sometimes, it
-- in fairness to counsel, and to you,
Ms. Burke.
THE W|TNESS: l actually
deliberately use that term because l don't
like the tax accounting terms l don't
think they have any basis in a legal
analysis
BY MR. WAHLQU|ST:
Q. Well -- and you‘ve made that clear
to me, but what l want to address is your
assessment of the likelihood cf prevailing in

litigation. You said it's good, and lwant to

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Burke
get an assessment of how good. Does that mean
51 percent?

A. On the facts of this case if it --

Q. And no, l want to talk about a
generic transaction first, okay?

MR. KUSHNER: He has changed the
question.

A. l can't answer that question.

MR. KUSHNER: She didn't address
generic She addressed this claim.
CHA|RMAN BYRNE: Counsel, sustained
BY MR. WAHLQU|ST:

Q. Wait a minute |n your report, you
say that the tax transaction entered -- excuse
me, that the transaction entered into in 2001
had a good chance of surviving scrutiny in the
Tax Court, right?

A. Yes.

Q. How good?

A. l think in the case of this
particular factual situation, had it proceeded
to be implemented as structured, l would have
made the -- l would probably have taken the

chances up to 60 or 70 percent, 60 or 70.

552

Burke

Q. So there would have been a 30 or
40 percent chance of |osing, right?

A. That would be the case with any
factual case, is it not?

Q. And is your assessment in that
regard the same for both the allocation of
income issue and the second class of stock
issue?

A. Could l address the second class of
stock issue first? l think that was like 100
percent

Q. | understood from your report you
thought they were maybe different but that's
-- that's what l want to be clear on?

A. Okay.

Q. So you are telling us that on the
allocation issue, you think there was, in the
original transaction 60, 70 percent chance of
prevailing, and you thought it was a virtual
certainty they would prevail on the second
class of stock issue?

A. But that all goes hand-in-hand, but
l really think the second class of stock was a

nonissue.
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1 Burke
2 Q. Can you explain what you mean by
3 "hand-in-hand" to me?
4 A. l'm sorry?
5 Q. Can you explain what you mean by
6 "hand-in-hand" to me?
7 A. Had there -- had there been a second
8 class of stock, they would have absolutely
9 failed on the allocation issue lt's only
10 because there was no second class of stock that
11 you even address the allocation issue
12 Q. And you indicated that after the
13 transaction in December of 2002, you thought
14 that the taxpayer would lose in court?
15 A. That's correct
16 Q. Can you tell us what degree of
17 confidence you have in that conclusion?
18 A. |n the conclusion that he would
19 lose?
20 Q. Yeah.
21 A. Probany 90 to 100 percent
22 Q. Okay. And that's the percentage you
23 would put on it?
24 A. (Nodding.)
25 CHAlRMAN BYRNE: lmust tell you l'm
554
1 Burke
2 having dichulty with what ~- with what
3 l'm going to call form over substance
4 And l'm going to go back to some of the
5 other questions counsel asked you.
6 MR. HOWELL: May ljust interrupt to
7 get my binder back? l wrote some notes
8 that l want to look at.
9 CHAlRMAN BYRNE: Ohl l'm sorry.
10 Sure. And |won't do -- lwon't engage in
11 the hypothetical, but if l contest -- if
12 the taxpayer contested the lRS‘s position
13 that the repurchase of shares in December
14 of 2002 vitiated an otherwise valid SC
15 squared transaction, what would be the
16 impact if any, on that determination of a
17 Ending or a establishment that, in fact
18 and in |aw, the $2 million paid to redeem
19 the shares in December of 2002 were fair
20 market -- was fair market value?
21 THE W|TNESS: And you're asking me
22 what effect that would have? lf the court
23 found that that was fair market value,
24 then l think the transaction would hold
25 up -- l think the transaction would hold
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Burke
up.

CHAlRMAN BYRNE: Okay. And that the
lRS‘s determination that it was -- in this
case, keep in mind my form over substance
comment

What was the lRS saying was wrong
with this transaction? This transaction,
Upper Deck's transaction.

THE W|TNESS: Okay. What was the
lRS saying was wrong with the shareholders
agreement?

ARB|TRATOR MOXLEY: The generic

CHA|RMAN BYRNE: With anything that
Upper Deck did.

THE W|TNESS: Oh, with the SC --

CHA|RMAN BYRNE: With anything that
Upper Deck did.

THE W|TNESS: Because anything that
Upper --

CHA|RMAN BYRNE: Upper Deck did.

THE W|TNESS: lt's tough for me to
know.

CHA|RMAN BVRNE: Thank you.

BY MR, WAHLQU|ST:

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Burke

Q. And why is it tough for you to knovl/?

A. Because they probably did not look
beyond establishing that the generic facts of
the transaction fit the Notice 2004-30.

Q. Thank youA Are you aware of any SC
squared taxpayer who was not offered an
identical settlement proposal to that received
by Upper Deck and Mr. McWilliam?

A. No.

Q. Now, in your direct, you suggested
that prior to the issuance of those settlement
offers, those generic settlement offers that
went to all SC squared participants, there
would have been some prospect of negotiating a
separate settlement if l heard you correct|y.
Did | hear that correct|y?

A. You heard me correctly.

Q. And you know if you look at Notice
2004 in the coordinated issue paper, it says in
some of these cases for example they didn't
even issue a share certificate to the charity,
That's a bad case right?

A. That's correct

Q. So -- or they didn't send them K-1s.
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Burke
That's another bad case right?

A. Correct.

Q. ln your view, would it have been
possible to negotiate a settlement priorto the
issuance of that generic settlement proposal
more advantageous than the one that was
negotiated?

A. Would it be possible for me to
answer your question by talking a little bit
about the procedure that normally pertains?

Q. Well, you can tell me all about the
procedure but | would like a direct answer to
my question.

A. Your question was, prior to the
issuance of the generic settlement offer for
the SC2 type of transaction, would it have been
possible to negotiate a settlement?

Q. Correct.

A. The answer to that is yes, but it
would have had to be in appeals

Q. Are you aware of anybody negotiating
such a settlement?

A. No.

Q. And you think the prospects of

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Burke
anybody negotiating such a separate settlement
were strong, anybody?
A. l have to be honest with you and
tell you l cannot answer that question as to
this transaction.
Q. Would you turn to page 13 of your
own report please?
A. Page 13 of what?
Q. Your own report if you have it.
MR. KUSHNER: Let‘s see if l can dig
it out.
A. Page 13 of my report? lt's more
than halfway through it, l know that much.
MR. KUSHNER: Here we are (handing).
THE W|TNESS: Thank you.
CHA|RMAN BYRNE: What are we looking
at?
Q. The first sentence of the first
paragraph
A. The one that starts, "The best way"?
Q. Yes. My question is, do you still
believe that?
A. Okay.
Q. Do you still believe that?

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Burke

A. Yes.

Q. "The best way to judge the reality
of the donation made by the Trust to the Fund
is to look at the shareholders agreement"?

A. Yes.

Q. Would that be the most compelling
evidence in court of whether or not there was
an actual donation made to the Fund?

CHAlRMAN BYRNE: |f you can answer
that, God bless you.

THE W|TNESS: Thank you. There are
obviously many other factors that play

into what is a valid donation.

BY MR. WAHLQUlST:

Q. Would that be --

A. l'm sorry?

Q. Would that be the best evidence or
factoi’?

A. Well, the shareholders agreement is
the best evidence of what took place in the
transaction.

Q. The coordinated issue paper?

A. Pardon me?

Q. The coordinated issue paper issued

560

Burke
by the lRS in connection with the Notice 2004
draws a distinction between the Economic
Substance Doctrine and the Form Over Substance
Doctrine Do you recall that?

A. Not really.

Q. Do you draw a distinction between
those two doctrines?

A. Not really.

Q. The way the coordinated issue paper
generally describes the application of the Form
Over Substance Doctrine is that the substance
of this was an accommodation fee paid to the
charity to accommodate the taxpayer's reduction
of their taxes

Have you done an analysis of that
doctrine?

A. Of the Substance Over Form?

Q. Correct?

A. Well, the Substance Over Form in
that case is the same as Economic Substance
What you are looking at -- l guess the answer
is yes.

Q. Okay. Well, isn't the difference

between those two doctrines, one doctrine says

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Burke
there is no substance The other doctrine says
there is substance but the substance is not
the same as the label you have put on it lt's
something different than what you have called
it?

A. Nol lwouldn't agree with that,

Q. You would disagree with that. And
would you disagree with that reading of the
coordinated issue paper?

MR. KUSHNER: Reading by whom?

CHA|RMAN BYRNE: His.

MR. WAHLQU|ST: Mine, the one ljust
stated.

A. Yesl l guess ldo disagree with
that

MR. WAHLQU|ST: Okay.

CHA|RMAN BYRNE: lthink you kind of
have it, Counsel, or damned close to doing
it

MR. WAHLQU|ST: One last question.

BY MR. WAHLQU|ST:

Q. if the -- if Upper Deck hadn't

engaged in the December 2002 transaction?

A. lf Upper Deck had not?

562

Burke

Q. |f Upper Deck had not engaged in the
December 2002 transaction, would the lRS still
have taken the same position with Upper Deck
and Mr. McWilliam that it did take?

A. Yes.

MR. WAHLQU|ST: Thank you.
MR. KUSHNER: May |?
CHA|RMAN BYRNE: Quickly.
EXAMlNATlON
BY MR. KUSHNER:

Q. When you were in the lnternal
Revenue Service, did you supervise lawyers who
fried cases in the Court of Claims?

A. No, ldid not

Q. And what did you have to do with the
300 or 400 lawyers you mentioned in your direct
testimony?

A. Well, l did supervise lawyers who
litigated in the Tax Court,

Q. How about the District Court?

A. No.

Q. That would be because the Department
of Justice had those lawyers; is that right?

A. That's correct

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Burke

Q. Have you got some estimate of how
many tax cases -- Tax Court cases there were
belonging to lawyers whom you supervised?

A. lt was in the neighborhood of
10,000.

Q. Just one last question. You were
asked -- you mentioned various factors lf l'm
wrong you will correct me, that you would use
in evaluating the economic substance of a
transaction Can you just mention those
factors, please?

A. Well, basically, you look to see was
a gift really made? Did the company and the
fund have a shareholder relationship? Was fair
market value the standard used on the
redemption? And how was fair market value
determined? And were there other economic
relationships or standings that changed with
either party because of entering into the
transaction?

CHAlRMAN BYRNE: What was the last
part? Anything that --
THE W|TNESS: Were there economic

relationships that changed for either

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Burke

party because of entering into the

transaction?

CHAlRMAN BYRNE: Thank you.
BY MR. KUSHNER:

Q. Do you have an opinion as to whether
the transaction effected in December 2002
deprived the taxpayer of a chance to
litigate -- a realistic chance to litigate or
settle the lRS ruling?

MR. WAHLQUlST: Compound, and asked
and answered.

CHAlRMAN BYRNE: Do you understand
the question?

THE W|TNESS: Yes, l believe l do,
but if l could rephrase it?

CHA|RMAN BYRNE: Please Yes.

THE W|TNESS: The question was, do l
have an opinion?

CHA|RMAN BYRNE: Better you. lf l
said that-- go ahead.

THE WlTNESS: Do l have an opinion
as to whether the transaction actually
implemented as a result of the 2002

agreement affected the ability to litigate

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Burke
the case successfully?
Q. Yes. lwill accept it.
Was that your question?
Yes.
Yes, l have an opinion

And what is it?

.>.r>.>p.>

lt is that it did.

MR. KUSHNER: Okay. l have no other
questions

CHA|RMAN BYRNE: Thank you very,
very much, Ms. Burke Thank you for your
time, and your opinions, and your help.
As you can tell, we do not have the
easiest job.

We are adjourned until 10:OO
tomorrow, when we will start with
Mr. Robert Burke, and lwill not describe
for him the expression that Mrs Linda
Burke gave when his name was mentioned

(Time noted: 5:00 p.m.)

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Burke
CERT|FlCA`l'E

STATE OF NEW YORK )
;ss
COUNTY OF RICHMOND )

l, MEL|SSA GlLMORE, a Notary Public
within and for the State of New York, do hereby
certify that the within is a true and accurate
transcript of the proceedings taken on
October12, 2006.

l further certify that l am not
related to any of the parties to this action by
blood or marriage and that l am in no way
interested in the outcome of this matter.

|N W|TNESS WHEREOF, l have hereunto
set my hand this 13th day of October, 2006

MEL|SSA G|LMORE

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Burke

C E R T 1 F 1 C A T E

STATE OF NEW YORK )
ZSS
COUNTY OF RICHMOND )

1, MELISSA GILMORE, a NOtary Public
within and for the State of New York, do hereby
certify that the within is a true and accurate
transcript of the proceedings taken on
October 12, 2006.

I further certify that I am not
related to any of the parties to this action by
blood or marriage; and that 1 am in no way
interested in the outcome of this matter.

IN WITNESS WHEREOF, 1 have hereunto

set my hand this 13th day of October, 2006.

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\ MELISSA GILMORE

 

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